Case 4:19-cv-05014-SMJ ECF No. 2

DUANE AND RACHELLE WARD, PRO SE

DUANE WARD, an individual; and
RACHELLE WARD, an individual,

Plaintiffs,
VS.

COUNTY OF BENTON, an entity;

CHILD PROTECTION SERVICES

CHILD WELFARE SERVICES

CHILDREN’S ADMINISTRATION

COUNTY OF KING, an entity;

CHILD PROTECTION SERVICES

CHILD WELFARE SERVICES

SEATTLE CHILDREN’S HOSPITAL

CHILDREN’S PROTECTION PROGRAM

Protection Program SCAN Team

DEPARTMENT of CHILD, YOUTH and FAMILY, an entity:
DEPARTMENT of SOCIAL and HEALTH SERVICES, an entity;
ANA BROWN, individual and/or official capacity;

ERIC CHOW, individual and/or official capacity:

MARCO DEOCHDA, individual and/or official capacity:
JENNIFER GOURLEY, individual and/or official capacity:
DAMON JANSEN, individual and/or official capacity;
Honorable JERRI POTTS, individual and/or official capacity;
KATHY LUND, individual and/or official capacity;
[LESLIE SMITH, individual and/or official capacity;
LAUREN TRUSCOTT, individual and/or official capacity;
REBECCA WEISTER, individual and/or official capacity;
DOES | through 100 inclusive,

Defendants.

UNITED STATES DISTRICT C

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IN THE U.S. DISTRICT COURT
DISTRICT OF WASHINGTON

EASTERN DISTRICT OF WASINGTON

APR 18 2019

Case No.: 4:19-C V-5014-SMJ
SEAN F. McAVOY, CLERK
, DEPUTY
RICHLAND, WASHINGTON

First amended complaint

FIRST CLAIM FOR RELIEF ACTION:

VIOLATION OF CIVIL RIGHTS (42 U.S.C. $1983)
(UNREASONABLE SEIZURE/FAMILIAL ASSOCIATION)
SECOND CLAIM FOR RELIEF ACTION:

VIOLATION OF CIVIL RIGHTS (42 U.S.C. $1983)
(DECEPTION)

THIRD CLAIM FOR RELIEF ACTION:

VIOLATION OF CIVIL RIGHTS (42 U.S.C. §1983)
(MISREPRESENTATION of facts)

FOURTH CLAIM FOR RELIEF ACTION:

VIOLATION OF CIVIL RIGHTS (42 U.S.C. §1983)
(NOTICE AND HEARING)

FIFTH CLAIM FOR RELIEF ACTION:

VIOLATION OF CIVIL RIGHTS (42 U.S.C. §1983)
(INVESTIGATION AND A PREDPRIV ATION HEARING)
SIXTH CLAIM FOR RELIEF ACTION:

VIOLATION OF CIVIL RIGHTS (42 U.S.C. §1983)

(POST DEPRIVATION JUDICIAL REVIEW TO RATIFY
EMERGENCY ACTION)

SEVENTH CLAIM FOR RELIEF ACTION:

VIOLATION OF CIVIL RIGHTS (42 U.S.C. §1983)
(SUPRESSION)

EIGHTH CLAIM FOR RELIEF ACTION:

VIOLATION OF CIVIL RIGHTS (42 U.S.C. 1985)

NINTH CLAIM FOR RELIEF ACTION:

VIOLATION OF CIVIL RIGHTS (42 U.S.C. §1983 ) MONELL
TENTH CLAIM FOR RELIEF ACTION:

VIOLATION OF CIVIL RIGHTS (42 U.S.C. §1983 ) MONELL

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JURISDICTION AND VENUE

iL Plaintiffs Duane Ward and Rachelle Ward bring this lawsuit pursuant to §42 U.S.C. §1983 and §42 U.S.C.
$1985 to redress the deprivation of rights secured to them under the United States Constitution, including
Fourteenth Amendment. These deprivations were inflicted by the Defendants herein, and each of them, in
some manner.

2 Jurisdiction is conferred pursuant to 28 U.S.C. §1343(a)(3) and §1343(a)(4), which provides for original
jurisdiction in this Court of all suits brought pursuant to 42 U.S.C. §1983 and 42 U.S.C. §1985.
Jurisdiction is also conferred by 28 U.S.C. §1331 because the claims for relief derive from the United
States Constitution and the laws of the United States.

3 Because the acts and omissions complained of herein occurred in WASHINTON, and it is believed that all
Defendants currently reside in the State of WASHINGTON, venue is proper in the District Court for the
Eastern District of WASHINGTON.

4 These allegations are based on Plaintiffs’ personal knowledge, and on information and belief.

PARTIES

5 Rachelle Ward (“Rachelle” or “Rachelle Ward”) and Duane Ward (“Duane” or “Duane Ward”),
(“Parents”) with their (“children”), C.W. and G.W., maintained a permanent residence in Benton County,
WA. Rachelle and C.W. moved temporarily to King County, WA beginning March 7, 2014 and ending
approximately February 19, 2015. Plaintiffs are individuals and citizens of the United States of America.

B At all times mentioned herein, the COUNTY OF BENTON (“BENTON COUNTY” or “COUNTY OF
BENTON”) was and is a public entity.

7 At all times mentioned herein, the COUNTY OF KING (“KING COUNTY”) was and is a public entity.
8 At all times mentioned herein, the CITY OF SEATTLE (“SEATTLE”) was and is a public entity.
D At all times mentioned herein, the CITY OF RICHLAND (“RICHLAND”) was and is a public entity.

(LO At all times mentioned herein, the SEATTLE POLICE DEPARTMENT (SPD) was and a department,
YS aeal or entity of CITY OF SEATTLE.

1 At all times mentioned herein, the RICHLAND POLICE DEPARTMENT (RPD) was and a department,
division or entity of CITY OF RICHLAND.
{L2 The DEPARTMENT OF CHILDREN and FAMILIES SERVICES (DCFS) was a division within DSHS
and Children’s Administration at the time of the events described. DCFS was at the time a parent
organization of CPS and CWS. The state structure may have shifted but the overall function of the

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Department, division, or arm remains the same. The terms DSHS, DCYF, DCFS, CA, CPS, CWS may be
used interchangeably with all alias’ listed in paragraphs 9-14

13 The DEPARTMENT OF CHILDREN, YOUTH, and FAMILIES (DCYF), an entity; CHILDREN’S
ADMINISTRATION was and is a public entity; previously a part of DSHS, is now a part of DCYF which
became its own cabinet level department in 2018.

(L4 At all times mentioned herein, the DEPARTMENT OF SOCIAL AND HEALTH SERVICES (DSHS),
was and is a State Cabinet;

LS Atall times relevant to this complaint, CHILDREN’S ADMINISTRATION (CA), is an entity; CA This
entity was previously under DSHS. CA is now under DCYF.

16 At all times relevant to this complaint, CHILD PROTECTIVE SERVICES (CPS), was and is an entity;
CPS is the investigative unit under CA. Benton County CPS and King County Washington CPS are
separate offices under Children’s Administration.

17 At all times relevant to this complaint, CHILD WELFARE SERIVCES (CWS), was and is a public
entity; CWA is the “services” unit under CA, Social Workers may also serve as investigators. Benton
County CWS and King County Washington CWS are separate offices under (CA)

18 At all times relevant to this complaint, the term “BENTON COUNTY CPS” includes Benton County
Social Workers, Supervisors and Administrators including but not limited to DEOCHOA, LUND,
GOURLEY, and DOES 1-100.

19 At all times relevant to this complaint, CHILDREN’S PROTECTION PROGRAM, (“Protection
Program”) was and is an entity of Seattle Children’s Hospital. Among other things, the Children’s
Protection Program is charged with coordinating the SCAN team, and to identify and intervene in concerns
of child maltreatment and interpersonal violence.

20 Children’s Protection Program SCAN team (“SCAN”) was and is a entity or team of people coordinated
by an entity of Seattle Children’s Hospital. SCAN is charged with the detection and prevention of child
abuse and neglect. Under Washington State Law RCW 26,44.056, Hospital Administrators can place a
child in protective detention or custody if there is reasonable cause of imminent danger to the child. The
SCAN team facilitates SCAN case conferences on serious physical abuse/neglect case and includes Seattle
Children's clinicians, CPS and law enforcement, The SCAN clinical team facilitates MDT reviews on
complex medical neglect cases as requested by Seattle Children’s staff. The team develops, reviews and
revises all Seattle Children’s policies and protocols that guide the diagnostic care and management of child
abuse and neglect.

21 At all times relevant to this complaint, SEATTLE CHILDREN’S HOSPITAL was and is a private
entity. Under Washington state law RCW 26.44.056 hospital administrators can place a child in protective
detention or custody if there is reasonable cause of imminent danger to the child.

22 At all times mentioned herein, ANA BROWN was an individual residing in King County. On
information and belief, in 2014, BROWN was an officer, agent, and/or employee of CHILDREN’S
HOSPITAL, CHILDREN’S PROTECTION PROGRAM, and the (“SCAN’) team. Defendant BROWN is
sued herein in both her individual capacity and in her official capacity as an employee of SCH and as a
SCAN child abuse investigator, Ana BROWN was a SOCIAL WORKER contracted by SEATTLE
CHILDREN HOSPITAL, and working under the watch of Dr. WEISTER and the SCAN team. The SCAN

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social workers’ function was to investigate alleged child abuse and neglect. The SCAN social worker acts
as the primary social worker on serious child abuse/neglect concerns taking the lead of the SCAN doctor:
Provides management consultation of complicated high-risk or neglect concerns to the primary
psychosocial provider; AND Provides consultation to psychosocial providers to assist in whether to report
to CPS/law enforcement, or if other less-restrictive alternatives may be considered, including meetings
with the multidisciplinary team (MDT);

23 At all times mentioned herein, ERIC CHOW, M.D. (“CHOW”), was and is an individual residing
in King County. On information and belief, at all times relevant to this complaint Dr. CHOW was and
is an attending physician at SEATTLE CHILDREN’s HOSPITAL. Defendant CHOW is sued herein in
both his individual capacity and in his official capacity as an employee, agent, and/or officer of SCH.

24 Atall times relevant to this complaint investigative social worker MARCO DEOCHOA
(“DEOCHOA”) was an individual residing, on information and belief in the County of FRANKLIN,
and an officer, agent, and employee of CA; This claim brought against public employee DEOCHOA in
both his individual capacity and in his official capacity as an employee of CA;

5
Ce At all times relevant to this complaint supervising social worker JENNIFER GOURLEY
(*“GOURLEY”) was an individual residing, on information and belief in the County of BENTON,
and an officer, agent, and employee of CA; This claim brought against public employee GOURLEY in
both her individual capacity and in her official capacity as an employee of CA; At all times mention herein,
social worker GOURLEY was performing and/or carrying out her official duties as a CA official,
employee, and/or agent, and was acting under color of state law. Defendant GOURLEY is sued herein in
both her individual capacity and in her official capacity as an employee of CA. Defendant GOURLEY
was, on information and belief, a Social Services Supervisor.

7 Atall times relevant to this complaint detective DAMON JANSEN (“Jansen”) is and was an individual
frock in the County of BENTON, and employed by the City of Richland Police Department. At all times
mention herein, Officer Jansen was performing and/or carrying out his official duties as a RPD official,
employee, and/or agent, and was acting under color of state law. This claim brought against public
employee JANSEN in both his individual capacity and in his official capacity as an employee of RPD;

28 At all times relevant to this complaint, the Honorable Jerri Potts (“Commissioner” or “Commissioner
POTTS”) was an individual residing in the State of Washington in both Benton and Franklin Counties, and
an officer, agent, and employee of BENTON COUNTY; At all times mention herein, Commissioner
POTTS was performing and/or carrying out her official duties at BENTON COUNTY JUVENILE
COURT, a division of BENTON COUNTY SUPERIOR COURT, as an official, employee, and/or agent,
and was acting under color of state law. This claim brought against public employee Commissioner
POTTS in both her individual and official capacity as an official of BENTON COUNTY.

29 At all times relevant to this complaint investigative social worker KATHY LUND (“LUND”) was an
individual residing, on information and belief in the County of BENTON, and an officer, agent, and
employee of CA; At all times mention herein, social worker LUND was performing and/or carrying out
her official duties as a CA official, employee, and/or agent, and was acting under color of state law. This
claim brought against public employee LUND in both her individual capacity and in her official capacity
as an employee of CA;

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BO At all times relevant to this complaint detective LESLIE SMITH (“SMITH”) is and was an individual
residing in the County of KING, and employed by the City of SEATTLE Police Department. At all times
5 mention herein, Officer SMITH was performing and/or carrying out her official duties as a SPD official,
employee, and/or agent, and was acting under color of state law. This claim brought against public
employee SMITH in both her individual capacity and in her official capacity as an employee of SPD;

7 B1 Atall times relevant to this complaint detective LAUREN TRUSCOTT (“TRUSCOTT”’) is and
was an individual residing in the County of SNOWHOMISH or KING, and employed by the City of

8 SEATTLE Police Department. At all times mention herein, Officer TRUSCOTT was performing
9 and/or carrying out her official duties as a SPD official, employee, and/or agent, and was acting
under color of state law. This claim brought against public employee TRUSCOTT in both her
10 individual capacity and in her official capacity as an employee of SPD;
i B32 At all times mentioned herein, REBECCA WEISTER, M.D. (“WEISTER”), was and is an
individual residing in King County. On information and belief, at all times relevant to this
12 complaint WEISTER was and is the Medical Director of the Child Protection Program, Seattle

Children's Hospital; Pediatric Attending, HCSATS; Regional Medical Consultant for Region 4
(King County), Wiester is a member of the SCAN (suspected child abuse and neglect) team and an
14 Attending at HCSATS and consults on inpatient and outpatient cases of possible child abuse and
neglect at Seattle Children's Hospital and Harborview Medical Center. Resident and community
education and consultation is also a part of this responsibility. As Regional Medical Consultant for
16 DSHS, Dr. Wiester reviews cases for social workers, prepare documents as needed, give medical
advice concerning select cases and proyide education and guidance to DSHS staff where medical

17 questions arise. At all times relevant to this complaint, WEISTER had supervisory responsibility

18 and authority over protection program employees and SCAN. Plaintiffs are informed and believe
and on such basis, alleges that WEISTER, at all relevant times mentioned herein, had the power to

19 promulgate and implement policies governing the conduct of social workers in relation to the

56 CHILDREN’S PROTECTION PROGERAM, and Protection Program SCAN team’s handling of

investigations. Plaintiffs are further informed and believes and on such basis, alleges that

21 WEISTER has and had the power to investigate the conduct of Department employees and to mete
out discipline upon employees who engaged in the wrongful conduct alleged herein. WEISTER had
supervisory authority over the remaining social workers as the acting Director of the Children’s

23 Protection Program. On information and belief, and/or in the alternative, WEISTER delegated such
duties to BROWN, and DOES 1-100. Defendant WEISTER is sued herein in both her individual
capacity and in her official capacity as an employee, agent, and/or officer of SCH and as a SCAN
child abuse consultant and investigator. WEISTER serves as a consultant for CHILDREN’S
ADMINISTRATION, throughout the State of Washington. Defendant WEISTER is sued herein in
26 her individual capacity. As a part of The SCAN team, WEISTER Provides phone consultation to
providers on the diagnosis and safe plan of care, she provides formal consults to examine the child
when there is concern for serious abuse/neglect, and she provides consultation to the community via
28 the Statewide Child Abuse Network contract managed by Seattle Children’s Protection Program.

B3 Defendants DOES 1-100 are sued as fictitious names, their true names and capacities being unknown to
Plaintiff. When ascertained, Plaintiff will amend this Complaint by inserting their true names and

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capacities. Plaintiff is informed and believes and thereon alleges that each of the fictitiously named

4 Defendants is responsible in some manner for the occurrences herein alleged, and those Defendants
proximately caused, are responsible for and/or legally liable for Plaintiff's damages as herein alleged. Each
reference in this complaint to “Defendant,” “Defendants” or a specifically named Defendant refers to and
6 includes sued under fictitious names, On information and belief, Plaintiff makes all allegations contained
in this Complaint against all Defendants including DOES 1 through 100.

B4 The use of “Defendants”, such allegations shall be deemed to mean all named Defendants and DOES |
8 through 100, or their officers, agents, managers, representatives, employees, heirs, assignees, customers,
tenants, did or authorize such acts while actively engaged in the operation, management, direction or
control of the affairs of Defendants and while acting within the course and scope of their duties, except as
10 specifically alleged to the contrary.

B5 The use of “KING COUNTY COMMUNITY PROTECTION TEAM DEFENDANTS”, such
allegations shall be deemed to mean Defendants DSHS, SEATTLE CHILDREN’S HOSPITAL,

12 CHILDREN’S PROTECTION PROGRAM, SCAN Team, BENTON COUNTY CPS, BENTON
COUNTY CWS and DOES 1-100, or their officers, agents, managers, representatives, employees, heirs,

B assignees, customers, tenants, did or authorize such acts while actively engaged in the operation,

14 management, direction, or control of the affairs of KING COUNTY COMMUNITY PROTECTION
TEAM DEFENDANTS and while acting within the course and scope of their duties, except as specifically

15 alleged to the contrary.

16 36 The use of “BENTON COUNTY COMMUNITY PROTECTION TEAM DEFENDANTS”, such
allegations shall be deemed to mean Defendants DSHS SEATTLE CHILDREN’S HOSPITAL,

17 CHILDREN’S PROTECTION PROGRAM, SCAN Téam; BENTON COUNTY, BENTON COUNTY

18 CPS, BENTON COUNTY CWS, and DOES 1-100, or their officers, agents, managers, representatives,
employees, heirs, assignees, customers, tenants, did or authorize such acts while actively engaged in the

19 operation, management, direction, or control of the affairs of BENTON COUNTY COMMUNITY

a PROTECTION TEAM DEFENDANTS and while acting within the course and scope of their duties,
except as specifically alleged to the contrary.

21 37 Defendants were the knowing agents and/or alter egos of one another. Defendants directed, ratified,

9 and/or approved each other’s conduct and that of each other’s agents or employees. Defendants agreed

upon, approved or ratified each other’s conduct, or otherwise conspired together to commit all of the acts
23 and/or omissions alleged herein. The above defendants are responsible for the occurrences complained of,
and conspired with, and/or aided and/or abetted each other in committing the acts complained of.

24

25

26 GENERAL ALLEGATIONS

27

28 38 This suit arises from the concerted acts of numerous individuals, including Ana BROWN, Lauren

TRUSCOTT, Marco DEOCHOA, and Damon JANSEN, among others who in a cover-up, maligned and
nearly destroyed a mother and father’s bond with their child.

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39 Duane and Rachelle met in the Midwest and have been together 24 years. Duane and Rachelle moved to
Richland, WA after Duane was offered full-time employment here in Washington State in 2002.

40 The family joined Redeemer Lutheran Church in Richland, WA, where they have been members since
bic The church became a large part of their support network,

1 C.W. is a resident of the State of Washington and is the minor son of Duane and Rachelle Ward.
42 G.W. is a resident of the State of Washington and is, at this time, the adult daughter of Duane and Rachelle

43 Their lives changed in an instant when C.W, was diagnosed with Acute Lymphoblastic Leukemia (ALL)
with Philadelphia Positive subset in March of 2014.

44 Historically, a patient with a diagnosis of with Philadelphia Positive ALL has a very dismal long-term life
expectancy. As a result, C.W. enrolled in a cutting edge clinical trial study, (AALL1122), to treat children
who are at high risk of death due to the Philadelphia Positive subset.

AS To participate in the Clinical Study, Rachelle and C.W. were immediately required to temporarily move
to Seattle and stay within 40 minutes of Seattle Children’s Hospital, so CW. could participate in a trial study
for ALL patients with the Philadelphia Positive subset. Mother and son were in Seattle for almost 12 months.
Meanwhile, C.W.’s chemotherapy treatments continued for an additional year after they returned home to
Richland, WA.

46 C.W.'s diagnosis and prognosis for the future were traumatic for the family. C.W. was frightened and
uncomfortable. His biggest fear was that he was going to die. The whole family experienced grief not only
after the initial diagnosis but also after finding out that he had the Philadelphia Positive Arrangement, which
resulted in a level of hopelessness and despair. Being Philadelphia Positive places C.W. in a rare subset
of ALL where he is one in a million for kids under the age of fourteen who are stricken with Acute
Lymphoblastic Leukemia. Historically, this form of leukemia has a dismal prognosis of survivability
for children,

47 Even though they experienced extreme emotions, the family knew that they had to function on a daily
basis. Since C.W. was diagnosed with a life-threatening form of Leukemia, the focus remained on keeping
C.W. in the best physical condition possible so his body would be healthier when dealing with the treatment
and medications. C.W.’s parents understood that it was beneficial to accept any help that was offered, but
they also were determined to keep C.W, the focus of their energy and attention.

48 C.W. remained at CHILDREN’S in King County, Washington while undergoing an intense drug treatment
protocol stipulated in a clinical trial (AALL1122). C.W. was physically sick from the Leukemia for the first
few months.

49 C.W. experienced side effects caused by Induction chemotherapy treatments that caused emotional peaks
and valleys and physical limitations such as moving/walking very slowly, difficulty with balance and picking
up his feet, pain in his joints, and pain in general during this time. Additionally, C.W.’s immune system was
compromised during this treatment phase; therefore, it was necessary to limit his environment to locations
within 40 minutes of the hospital, and carefully monitor and limit his exposure to threats to his immune
system.

50 When C.W, was diagnosed with an acute, life-threatening illness, John Hudspeth, a family friend of the
Ward family, came to Seattle and he planned to be there one or two nights. John has a background in
caregiving and was asked to serve as one of C.W.’s caregivers. In the medical records, he is referred to as

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the approved caregiver for C.W. He has 55 years of caregiving experience. John’s role model was his dad
who raised 4 boys. John started caring for his special needs brother Robert when he was 7 years old. John
was also a caregiver for his father up until the day he died from cancer.

51 Additionally, he was a caregiver for his mother for 7 months after her stroke while caring for his special
needs brother at the same time. John cared for another brother Bill who was diagnosed with Leukemia as an
adult. John spent the last 30 days in the hospital with his brother Bill who died from sepsis, a complication
of Leukemia. John was also a caregiver for his sister-in-law who died from complications of diabetes. John
served as the caregiver for his best friend of fifty years up to the moment that he died of liver cancer.

52 John Hudspeth, remained with C.W. and the family for several months. The days were long, and Rachelle
and Duane were overwhelmed with the challenges they faced. They wanted a supportive adult in the room
with C.W. at all times to monitor medical information, monitor and support treatments for adverse reactions,
and support C.W.’s emotional needs. And so Rachelle asked John to stay to help care for C.W. John,
Rachelle and Duane would often take shifts while the others got some rest in the nearby Ronald McDonald
house. One day while Rachelle was away a nurse overdosed C.W. on an opioid. John questioned her about
the overdose. He based his inquiry on the manner in which Caleb was behaving. The nurse’s reaction was
to express anger that she had been questioned. She then fabricated a story about inappropriate behavior to
cover-up that she had overdosed a child with an opioid, (Oxycodone). Her false nurse report is what brought
in the Seattle Police Department and CPS, The cover-up, was the beginning of a downward spiral of events
that resulted in C.W, being separated from his parents and left to endure cancer treatments on his own in the
cancer ward of Seattle Children’s Hospital. Caleb was just eleven years old at that time. The nurse impeached
herself in subsequent Interviews, and her testimony did not line up with facts and testimony given by other
witnesses.
THE FALSE NURSE REPORT

53 A false nurse report and a subsequent flawed investigation set in motion a series of events that caused
violations of the 4" and 14“ Amendment to Duane and Rachelle. The harm to Duane and Rachelle involved
violations of Substantive and Procedural due process rights guaranteed by the Constitution of the United
States.

54 It began on June 20", 2014 with C.W. being admitted to Seattle Children's Hospital because of a fever.
C.W. was on track to be released from the hospital Monday morning. Later that day, Social Worker BROWN,
informed Rachelle that she would not be allowed to take C.W. from the Hospital. BROWN made it clear to

Rachelle that C.W. was not free to leave the hospital. This was the first unreasonable seizure which was
conducted by BROWN.

55 On June 22 a custody order that was not court ordered was written by Detective TRUSCOTT.
TRUSCOTT had been contacted to investigate about possible inappropriate behavior between C.W. and his
caregiver. Prior to the seizure, TRUSCOTT had watched an interview of C.W that was conducted by a child
abuse interview expert. In the interview, C.W. clearly expressed to the expert that nothing inappropriate had
occurred. Shortly after viewing the interview, TRUSCOTT issued an order to take custody of C.W. from
his parents, TRUSCOTT did not attempt to obtain an order that was judicially reviewed and authorized
before making the decision to seize C.W.

56 That same morning, Social Worker BROWN and TRUSCOTT joined in an interview that was in progress
with Rachelle. Detective Smith and Social Worker Blackwell were questioning Rachelle. Rachelle was

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responding to multiple and varied questions with no legal representation. When BROWN and TRUSCOTT
joined SMITH AND BLACKWELL, the interview turned into a full-scale interrogation that included
statements aimed at Rachelle’s competence as a mother. Rachelle replied to questions from four individuals
over a period of time that exceeded several hours.

57 It is important to look at the context of that morning, TRUSCOTT had just left an interview conducted
by a child forensics expert for King County. In the interview, C.W. was steadfast that there was no
inappropriate behavior. His answers to the expert were coherent and clear, TRUSCOTT then wrote a
custody order to seize C.W. TRUSCOTT’s investigation had just begun. TRUSCOTT made no attempt to
obtain judicial authorization before seizing C.W., nor was she in possession of evidence to support a need to
take emergency action. TRUSCOTT then walked in on Rachelle’s interview and began making incendiary
statements. One explosive statement was that she had, ‘just walked out of C.W.'s interview where digital
rape had been discussed’. Her comments were deliberate fabrications. In the interview with C.W., nothing
was stated about digital rape. TRUSCOTT’s fabricated statement was meant to shock Rachelle and the other
individuals who were present. BROWN then joined with TRUSCOTT in making a number of statements
that were false and misleading. BROWN and TRUSCOTT worked together to berate Rachelle as a person
and a mother. BROWN closed the police interview by informing Rachelle that C.W. was in custody, and
that ‘decisions concerning him would no longer be hers to make.’ BROWN told Rachelle that she could not
say goodbye to C.W. before leaving the hospital, and that she was to pack her belongings and leave the
premises under security escort.

58 It needs to be stated that BROWN’s involvement was not limited to conspiring with TRUSCOTT. She
also conspired with officials working for CPS. Her false and misleading statements were placed in the First
Dependency Petition which CPS used to justify their actions. BROWN also gave direct testimony at the
hearings concerning the custody status of C.W. Her false and misleading statements influenced a number of
officials with final decision making authority to keep C.W. in State custody for a period of time that exceeded
eight months. BROWN’S false statements were then reinserted into a Second Dependency Petition by
DEOCHOA. DEOCHOA rebooted BROWN’s statements into a Second Petition even though they were
determined baseless in the First Petition. DEOCHOA deceived and mislead the Commissioner in charge of
the Second Petition. He knowingly misrepresented to the Commissioner that Brown’s rebooted allegations
were current, unresolved and ongoing. DEOCHOA’s deceitful conduct caused the Commissioner to make
several unwitting decisions, One unwitting decision was granting a court order to seize C.W., and the other
was supporting the decision to keep C.W. in State custody for an excessive amount of time.
THE FIRST DEPENDENCY PETITON

59 Preceding the First Dependency Petition, DEOCHOA coerced Duane and Rachelle into signing a
Voluntary placement agreement, (VPA). Both officials used C.W. as leverage to force Duane and Rachelle
to sign the Agreement. It was made clear to them that if they did not sign, it would take much longer to get
their son back. DEOCHOA were aware that Duane and Rachelle were distraught over C.W’s medical
condition, and they capitalized on the parent’s concern. Within a few days, Rachelle revoked the VPA. Her
decision was driven by the urgency to see and care for her son. Rachelle’s decision to revoke the Agreement
resulted in BROWN and TRUCOTT working together to keep Rachelle from making contact with her son.
BROWN enacted a second Administrative Hold of C.W., which was followed by TRUSCOTT writing a
second custody order. Once again, TRUSCOTT sidestepped due process by writing a custody order that was

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not judicially reviewed and authorized. For the second time, BROWN and TRUSCOTT came to an
agreement in a joint activity to deprive Rachelle of her Constitutional right to care for and manage her acutely
ill son.

BO The First Dependency Petition was written and signed off by DEOCHOA. DEOCHOA attested to the
truthfulness of the Petition with his signature under penalty of perjury. DEOCHOA deliberately omitted
from the Petition information that was material to the case, and inserted a number of allegations that were
false and misleading. The Petition was based on false and misleading statements from officials such as
BROWN AND TRUSCOTT. The Petition was the basis used to obtain a Shelter Care Order. The Petition
gave no specific, articulable evidence that supported any reasonable belief that C.W. was in any type of
imminent or immediate harm. C.W. was not returned to his parent's care for a period that exceeded eight
months. The only justification given for the excessive amount of time was a single statement in the Petition.
The statement indicated that C.W. was to remain in State custody until an outcome was reached by the
Prosecutor from King County. This is not a legally sufficient reason for CPS to remove C.W. from his family
unit, especially in light of C.W.’s acute medical condition.

61 The First Dependency Petition ended with the case being dismissed and closed. The allegations found in
the Petition were determined unfounded. With the case settled and resolved, the family was able to return
home to the Tri-Cities. In respect to the chemotherapy treatments, C.W. was in the ‘Maintenance’ phase of
his drug treatment protocol. This meant C.W. could be at home with his family while taking the
chemotherapy medications. Duane and Rachelle were adept and skilled at administering the drugs in
accordance to the strict directives given in C.W’s drug treatment protocol,

62 There is an overriding injustice that cannot be overstated. The State does not want to recognize that during
the time C.W. was separated from his parents, he was in the fight of his life. The State treated C.W.’s medical
condition as if he was simply ill which required some additional time at a hospital. In truth, we are referring
to an eleven year old boy who is stricken with a rare and deadly illness. Without his parents, C.W. was
subjected on a daily basis to a toxic chemotherapy drug protocol that was necessary to keep himalive. Within
this context, the State was preventing C.W. from receiving the care and support of his parents. There could
not have been a more significant time for a child to have his parents by his side. The State did not respond
properly to the needs of a child who was acutely ill. The State was not willing to concede nor recognize that
the familial bond that a parent provides can never be matched or replicated by the State. Within this backdrop,
the State showed deliberate indifference to the serious medical needs of a child who was in their custody.
This is not only a Constitutional violation but a violation of common sense and decency. The State showed
callous disregard for the welfare of a child who desperately needed the comfort and care that only his parents
can provide.
CONSTITUTIONAL VIOLATIONS

63 The First Dependency Petition served as the basis for holding C.W, in State custody for eight
months. The Petition did not provide specific, articulable evidence supporting the actions taken by the State.
The decision to seize and then detain C.W. resulted in a number of Constitutional violations to Duane and
Rachelle. The rights that were violated were clearly established at the time of the unlawful actions by the
State. The Substantive and Procedural Due Process claims by Duane and Rachelle are supported by pre-
existing case law and material fact. Some of the relevant decisions from pre-existing cases include:

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64 Seizures conducted without a court order are per se unreasonable under the Fourth Amendment.
Seizures are subject to just a few “specifically established and well-delineated exceptions.” One exception
is when a child is in imminent danger of neglect or abuse. Other than a life-threatening illness, C.W. was
not in imminent danger. In respect to imminent danger, the courts have determined that the mere possibility
of danger is not enough to justify removing a child from a parent without fair and adequate process. In
respect to fair and adequate due process, the courts have made a number of decisions which include:

65 Parental rights cannot be denied without the parents having the opportunity to be heard at a
meaningful time and in a meaningful manner in a judicial setting. An ex parte hearing that is based on
misrepresentation and omission does not qualify as notice and an opportunity for the parents to be heard.
Duane and Rachelle were denied the right to be heard prior to the State’s action to seize C.W. If the parents
are denied pre-deprivation notice and a hearing due to emergency action, the Constitution guarantees that
adequate judicial review to ratify the emergency action is promptly accorded. Duane and Rachelle did not
receive prompt and adequate post-deprivation judicial review to ratify the emergency action to seize C.W.
The States justification for emergency action has to be based on ‘extraordinary circumstances’ where the
child is in imminent or immediate danger of injury or abuse. What is extraordinary is the State's decision to
remove C.W. from his parent’s care, (absent specific, articulable evidence), while he is fighting for his life
from an acute illness. Debunking the State's need for emergency action is the direct testimony of C.W. In
spite of coercive pressure from individuals who had access and control over him for months, C.W. remained
steadfast. He has maintained that he was not in any type of danger, and has repeatedly asked to go home.
In respect to the emergency action taken by BROWN AND TRUSCOTT, there are clearly established and
well defined limitations. “Emergency action can be taken only when a child's life is in imminent danger or
when there is immediate danger of severe or irreparable harm to the child, and prior judicial authorization is
not immediately obtainable, may an official summarily assume custody of a child from his parents."

66 The First Dependency Petition was compromised by two investigations that were deeply flawed. During
both investigations, the gathering of facts was influenced by the opinions of the investigators.
DEOCHOA was the investigator for CPS and TRUSCOTT for the Seattle Police Department. Instead of
gathering facts with no bias, both officials looked for facts that confirmed their beliefs, Both officials
conducted themselves in a manner that was unprofessional and unfair. DEOCHOA wrote a Dependency
Petition where he omitted, misrepresented, or distorted material fact critical to the case. DEOCHOA's
unprofessional conduct was deliberate and reckless.
TRUSCOTT

67 In respect to an investigator driven by opinion, DETECTIVE TRUSCOTT deserves special attention.
Even though TRUSCOTT was working as a Detective for the Seattle Police Department, she inserted herself
into the First Dependency Petition and made herself a major force in the Second Dependency Petition.
TRUSCOTT exhibited a pattern of behavior that showed reckless disregard for conduct becoming of a police
officer which included deliberate indifference to the Constitutional rights of others. TRUSCOTT’S
misconduct as an officer of the law is exhaustive and highly disturbing. Some of the examples of misconduct
include:

|. TUSCOTT seized C.W. with a custody order that was not Court Ordered, even though she had no
pvidence that C.W, was in imminent or immediate danger of harm. She deliberately sidestepped the cardinal

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tule of 4" Amendment jurisprudence which is to obtain a court order from a ‘fair and impartial’ judge before
pssuming custody of a child.

2. TRUSCOTT investigated by pursuing evidence that confirmed her beliefs, and ignored evidence
hat did not support her preconceived opinions. During police interviews, TRUSCOTT tainted every person
she interviewed by stating her opinions of how a crime had been committed. Her attempts to bully and shame
those she interviewed, and her intense need to force her opinions on others stands out in each taped interview.
ITRUSCOTT’s effort to unduly influence the interviews is extraordinary when measured by ANY standard
ised for police investigations. Her conduct during the interviews rises to the level of unlawful and corrupt.
he force of Truscott’s character in promoting her own opinions during the interview process is willful,
Heliberate, and indefensible.

3, TRUSCOTT conspired with BROWN to provide false and misleading information about the
rompetence of Rachelle as a mother. TRUSCOTT and BROWN joined together to fabricate a false narrative
hat Rachelle threatened to kill C.W. and that she was plotting to show-up and remove C.W, from the hospital.
ITRUSCOTT and BROWN worked in joint activity to fabricate allegations which served as the basis for more
than one unlawful seizure of C.W. This includes administrative holds and custody orders that were not court
brdered. Their deceitful misrepresentations helped set in motion a series of events that caused a number of
bther officials to violate the Constitutional rights of C.W. and his parents.

4. TRUSCOTT conspired with C,W.’s grandmother to have indirect access to C.W. TRUSCOTT
httempted to set-up a backchannel so that C.W. could be questioned on a continual and unchecked basis. First,
TRUSCOTT promoted the decision with CPS to place C.W. under his grandmother’s control. TRUSCOTT
then directed the grandmother to uncover any inappropriate behavior that might have occurred. This resulted
na level of ongoing duress placed upon C.W. while receiving chemotherapy treatments for Leukemia, The
httempt by the grandmother to coerce C.W. to talk continued for months. This concluded with the
prandmother fabricating a note that she claimed C.W. wrote. The fraudulent note alleged that C.W. wanted to
speak with TRUSCOTT. The note was used as the basis for setting up an interview so that TRUSCOTT
would have direct access to C.W. for a second time. TRUSCOTT then conspired with BROWN in order to
bnsure that the interview would take place.

5. TRUSCOTT deliberately avoided interviewing a key witness to the investigation. The key witness
was C.W.’s primary care nurse practitioner. TRUSCOTT knew the key witness would provide information
bout a medical procedure that would stop TRUSCOTT from representing the procedure as a crime.
['RUSCOTT knew the information would vitiate probable cause that she was developing for an arrest.

RUSCOTT remained willfully blind even when told in three separate interviews that the nurse practitioner
was the person to seek in regard to the medical procedure. TRUSCOTT’s deliberate avoidance of the nurse
practitioner allowed her to push forward a crime that was, in fact, a procedure that was medically approved
nnd directed, and medically necessary. Simply stated, If TRUSCOTT had interviewed the key witness, she
would have been left with no basis to advance a crime. Her determination to not interview the material
witness shows the degree of corrupt intent in respect to her state of mind as an officer of the law.

6. TRUSCOTT willfully deceived a group of professionals and officials attending a SCAN TEAM
meeting at the hospital. TRUSCOTT’s direct involvement at the meeting resulted in actions that were far-
reaching and harmful to C.W. and his family. The SCAN TEAM met on July 1*', 2014 to address possible
hbuse of C.W. Also present was a deputy prosecuting attorney for King County. Participating by
speakerphone was the entire Staff for CPS from the Tri-Cities. Those individuals had the authority to

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significantly change the lives of C.W. and his parents. They were there to identify and respond to the
hilegation of abuse to C.W. TRUSCOTT addressed the group. Her purpose was to convince them that a crime
toward C.W. had been committed. TRUSCOTT stated that she ‘had a discussion with the mother concerning
Higital rape of C.W.’ TRUSCOTT failed to disclose that ‘digital rape’ was unsupported by testimony, facts, or
bvidence found in her investigation, and that she had fabricated the term in a police interview with Rachelle in
hn effort to shock her, In other words, Truscott was ‘the source’ for the allegation of rape. TRUSCOTT made
he incendiary statement to the group while knowing there was no evidence to support her claim. TRUSCOTT
wanted to shock the professionals into believing that ‘digital rape’ was uncovered. She knew the individuals at
the meeting had final decision making authority over the agencies they represented. TRUSCOTT’s comments
inified the group into taking collective action. The mood in the meeting went from highly concerned to
butraged and alarmed. Those listening to TRUSCOTT were blinded by the belief that an officer of the law
would not make untruthful and deceiving statements, They also assumed that an officer would lead a fair and
mpartial investigation. Those in attendance now believed that ‘digital rape’ had been uncovered during the
bourse of the investigation. TRUSCOTT showed corrupt intent in covering her tracks by writing in her
Hetective notes that she had merely attended the meeting on July 1, Her bombshell testimony was revealed in
CPS notes documenting the meeting. In respect to her actions, what followed the meeting was an arrest
warrant signed-off by the deputy prosecuting attorney, a Dependency Petition written by CPS from the Tri-
Cities, direct support from SCAN TEAM members in writing the Petition, and intrusive State interference with
the Ward family. TRUSCOTT’s misleading and false statements were instrumental in setting off those
Hecisive actions. The professionals and officials who listened to TRUSCOTT became the primary players
whose decisions would cause significant harm to Duane, Rachelle, C.W., and John for years to come.

7. TRUSCOTT was willfully untruthful in her written affidavit for probable cause. TRUSCOTT had
nterviewed a second nurse whose testimony was effusive in describing the caregiving ability of John while
lending to C.W. Her testimony was firsthand and her statements were fact based and lucid. The second nurse
had a nursing background that spanned twenty-seven years. TRUSCOTT perjured herself by stating in the
hffidavit that the nurse was concerned enough about John’s behavior that she felt compelled to notify her
supervisor. The second nurse categorically made no such statement in the interview with TRUSCOTT. When
rontacted by the prosecuting attorney, the second nurse was adamant that John did nothing inappropriate, and
she was extremely upset over the unfairness of the investigation, In addition, TRUSCOTT omitted from the
pv all the affirmative statements that the second nurse had expressed about John. This meant that almost
he entire interview was omitted by TRUSCOT, (the interview was taped and transcribed).

8. TRUSCOTT deliberately suppressed the tapes and transcript of a material witness whose firsthand
estimony impeached and refuted the false nurse report that started the entire investigation. The interview was
bonducted by TRUSCOTT with a third nurse who witnessed the same events as the nurse who gave the false
feport. Both nurses were together at the same exact time, and the third nurse was certain that she saw no
nappropriate behavior by John. Her testimony fully challenged and refuted the veracity of the false nurse
eport. TRUSCOTT showed corrupt intent by withholding this exculpatory evidence from the Prosecuting
ttorney for King County. The Prosecuting Attorney only became aware of the interview months after the
base was decided,

9. TRUSCOTT deliberately destroyed material information that would have explained why John was
thosen to care for C.W. In the interview with John, TRUSCOTT was given complete detail about John’s
bxtensive caregiving background. TRUSCOTT showed corrupt intent by willfully suppressing the information

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From CPS and the King County Prosecutor’s office. When a formal request was made to obtain her interview
hotes, TRUSCOTT’S written reply was that she had shredded the notes. When asked for the notes of her
bartner, detective SMITH, who was present the entire interview, TRUSCOTT responded that her notes had
heen shredded also. Since the 3 % hour interview was not recorded or videoed, TRUSCOTT willfully
Hestroyed the only documentation of the interview.

10. TRUCOTT deliberately contributed to the Second Dependency Petition without being officially
notified or assigned to do so. Acting alone, TRUSCOTT became involved in the investigation process that
resulted in the filing of a Second Petition by CPS. From Seattle, TRUSCOTT contacted DETECTIVE
JANSEN from the Richland Police Department of the Tri-Cities. The information that TRUSCOTT provided
JANSEN was then sent to DECHOA who was investigating for CPS. TRUSCOTT’s contact with JANSEN
provided a backchannel to influence the Second Petition much in the same manner as she had unduly
influenced the First Dependency Petition. In her contacts with JANSEN, TRUSCOTT expressed how upset
she was with the way the case was handled by the Senior Prosecuting Attorney for King County, and her
displeasure with the outcome. TRUSCOTT did not disclose to JANSEN that the outcome of the case was
based on the absence of a crime, and TRUSCOTT’S failure to conduct the investigation in a professional
manner which requires fairness and impartiality. TRUSCOTT used her established backchannel with
JANSEN to disseminate and promote the same misleading and false statements that were disproven in the
First Petition. Adding further harm, TRUSCOTT provided and promoted information that the Prosecuting
Attorney had refused to pursue in the King County case. This included statements from her detective notes,
and a second interview with C.W. The second interview was set-up, facilitated, and conspired by
TRUSCOTT, BROWN, and C.W.’s grandmother. The Prosecuting Attorney did not recognize the interview
as material due to the conspicuous amount of coercion and deception that was involved in the attempt to
justify a second interview with C.W. The conspired aim between TRUSCOTT, BROWN, and the
grandmother was to allow TRUSCOTT to get another shot at C.W. Even though TRUSCOTT had been
reassigned to squad car patrol following the case in Seattle, she was able to respond to JANSEN. Her
response included promoting her opinions of the Seattle case, gaining access to the police file, and sending
the information to JANSEN. TRUSCOTT’S determination to unduly influence the Second Dependency
Petition illuminates the degree of emotional investment that she carried about the case. As significant, her
backchannel effort to reinsert her influence over the State’s approach toward John and the Ward family
reveals a continuation of officer misconduct and corrupt intent.

THE SECOND DEPENDENCY PETITION

68 Approximately a year after C.W. was returned to his parents, a Second Dependency Petition was filed
by CPS from the Tri-Cities. Once again, the Second Petition was written by DEOCHOA and others
individuals, DEOCHOA attested to the truthfulness of the Petition with his signature under penalty of
perjury. At that time C.W. was home and in the ‘Maintenance Phase’ of his chemotherapy drug protocol.
Duane and Rachelle were administering and monitoring the chemotherapy drugs in regard to the exact
scheduling and dosage dictated by his clinical trial study.

69 DEOCHOA was the official who signed the Second Dependency Petition but it is evident there were
additional writers. One such person is Dr. WEISTER. WEISTER is the director of the SCAN TEAM for
Seattle Childrens Hospital, and she was deeply invested in the First Dependency Petition. Therefore, it is
not surprising that WEISTER assisted with the Second Petition which resulted in the seizure of C.W. The
last paragraph of the Petition is indicative of her writing style and sense of cerebral entitlement. It is

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noteworthy that WEISTER has maintained a level of distain for Rachelle that is palpable. WEISTER could
not reconcile that Rachelle trusted what her son was saying and her own firsthand observations rather than
professional opinion. To WEISTER, this translated to Rachelle being a neglectful mother. The statements
that C.W. and Rachelle provided were immaterial, Instead, WEISTER placed her trust in theory and
probability. As a result, WEISTER did not meet C.W., read the witness transcripts, watch the interview
videos of C.W., look at C.W.’s medical records, or talk with C.W.’s primary care nurse practitioner.
WEISTER operated within the constraints of a consultant whose opinions did not need to be verified by facts.
WEISTER conspired with CPS to help write, assist, and advise the First and Second Dependency Petitions
which resulted in the unlawful seizure of C.W. and Constitutional harm to Duane and Rachelle.

70 The event that triggered the Second Dependency Petition was a phone call from a workout club called
Gold’s Gym. The phone call was made to the Kennewick Police Department. The call as written by the
police despatcher was “inappropriate horseplay in a swimming pool.” At some point, the police department
contacted CPS which initiated their own investigation. The investigation for CPS was led by DEOCHOA.
It is important to note that there was no investigation carried forth by the police department beyond the
customary practice of submitting a standard-form police report. In respect to the degree of investigating by
DEOCHA, there is no indication that he visited Gold’s Gym, or conducted interviews with any of their staff
members. It appears that DEOCHOA relied solely on the submitted police report.

71 DEOCHOA did interview C.W. and his parents, The interview with C.W. was unannounced at his
school without his parent’s awareness or consent. The Second Petition included statements DEOCHOA
claimed were made by C.W during the school interview. Most of the statements that were attributed to C.W.
were either not made by C.W. or were written by DEOCHOA in a misleading and distorted manner. The
interview was further hampered by a notable language barrier due to DEOCHOA’s accent. C.W. indicated
to Duane and Rachelle that a number of questions that DEOCHOA asked were not clear enough to fully
understand,

72 The interview with Duane and Rachelle occurred on January 13", 2016. DEOCHOA met with Rachelle
and Duane at their attorney's office. DEOCHOA arrived with Lieutenant JANSEN of the Richland Police
Department. His presence was unexpected and unannounced, JANSEN was not serving in an official
capacity since his police unit was not conducting an investigation. JANSEN expressed that he was present
to support and provide backup for DEOCHOA. During the ensuing interview, JANSEN showed an unusual
amount of acrimony toward Duane and Rachelle. JANSEN failed to disclose that he had been in direct
contact with TRUSCOTT prior to the interview. In hindsight, it was apparent that JANSEN was restating
TRUSCOTT'’s opinions of how poorly the case was handled in Seattle by the Senior Prosecuting Attorney
for King County, Tainted and primed by TRUSCOTT’s opinions, JANSEN joined with DEOCHOA in
showing contempt for the decisions of the Senior Prosecuting Attorney. Their understanding of the case was
clouded by TRUSCOTT’s effort to provide false and misleading information to JANSEN. Channeling
TRUSCOTT’s opinions, DEOCHOA and JANSEN objected to the outcome of the case in Seattle, and were
adamant that the case should not have been settled. At that meeting, Duane and Rachelle presented a
number of documents to DEOCHOA and JANSEN. The documents verified that the First Dependency
was settled and closed, and that the allegations that TRUSCOTT pushed forward as a crime were
eventually determined by the Prosecuting Attorney to be unsupported by material fact and evidence.
Of equal importance, the Prosecutor also realized as the case progressed that the actions of TRUSCOTT

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made the initial charge impossible to pursue in a manner that was just and fair. DEOCHOA was also
handed a written Stipulation from a King County Superior Court Judge granting Caleb and John the
right to work-out together with a single condition attached to the work-out sessions. The condition that
adults be present was to remain in effect for one year. The purpose of the Stipulation by the judge was

to authorize their right to work-out together to protect against any adverse blowback from agencies such
as CPS.

73 During the interview, DUANE AND RACHELLE expressed a number of relevant facts to
DEOCHOA and JANSEN. It was expressed that the First Dependency began with a nurse giving a false
nurse report in retaliation for John questioning her about overdosing C.W. with an opioid. DEOCHOA AND
JANSEN were told that the alleged crime that TRUSCOTT pursued and carried forward was in fact a medical
procedure. The procedure was the application of ointment to C.W. to cover open sores caused by
chemotherapy drugs. They were told the procedure was medically necessary and prescribed, and that both
John and Rachelle were directed by C.W.’s nurse practitioner to apply the ointment directly onto C.W.
DEOCHOA and JANSEN were told that TRUSCOTT avoided interviewing the nurse practitioner so that the
application of the ointment could be treated as a crime. DEOCHOA and JANSEN were told that the case
was dead as soon as the Prosecuting Attorney became aware that TRUSCOTT had turned a blind eye toward
the nurse practitioner who could explain the medical urgency of the ointment. DEOCHOA and JANSEN
were told that when the Prosecuting Attorney had the interview with the nurse practitioner, it became clear
to him that the investigation by TRUSCOTT was deeply flawed and legally indefensible.

74 During the course of the heated interview, JANSEN disclosed to Duane and Rachelle that he was in
direct contact with TRUSCOTT, and that TRUSCOTT had expressed her contempt for the decisions of the
Prosecuting Attorney. JANSEN stated that TRUSCOTT felt that the Prosecuting Attorney had not done his
job and that she had gathered more evidence that should have been pursued. JANSEN revealed that
TRUSCOTT had been reassigned to squad car patrol, but was still able to provide her detective notes and
other information about the case for the CPS investigation in the Tri-Cities.

75 All through the interview, DEOCHOA and JANSEN worked together to denigrate Duane and Rachelle.
Duane was baited with statements that mocked his masculinity and his ability to protect his family.
DEOCHOA and JANSEN were especially harsh with Rachelle by making hurtful comments that she was
unfit as a mother for not protecting her son. Toward the end of the interview, DEOCHOA threatened Duane
and Rachelle that Dependency Action would be taken if contact between John and C.W. did not cease. In
desperation to protect C.W. from being removed from his family once again, a verbal offer was made to
DEOCHOA. Duane and Rachelle said they would end contact between C.W. and John. The offer was made
under extreme duress and coercion. In reaction to the offer, DEOCHO told Duane and Rachelle that he
would close the case and not file a Dependency Petition. DEOCHOA also voiced his official basis for
objecting to the work-outs. DEOCHOIA stated that if John and C.W. continued to work-out together, CPS
would receive additional calls of concern from the community, and he would be required to investigate. It
is troubling that as the lead investigator that was his single objection to the workouts. This odd and
unexpected statement is found in DEOCHO’s affidavit justifying the need for a Second Dependency Petition
and the subsequent seizure of Caleb. It’s also worth noting that during the entire interview with Duane and
Rachelle, DEOCHO offered no alternative CPS services or programs other than his reassurance that a
Dependency Petition would not be filed.

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76 On or about January 18", a group of CPS supervisors met in regard to the case. The decision
was made to move forward with a Second Dependency Petition. It is critical to note that C.W. was seized a
full twenty-five days after the workout at GOLD'S GYM. The seizure of C.W. violated a number of
Substantive and Procedural due process rights that are protected by the United States Constitution. It is
revealing in respect to the mindset of the officials who represent CPS of the Tri-Cities that the decision to
proceed confirmed that CPS had no interest, and made no reasonable effort to keep the family unit together.

77 The majority of the content found in the Second Dependency Petition was rebranded allegations
that comprised the First Dependency Petition. The allegations pulled from the First Petition were alleged to
have occurred while C.W. was receiving chemotherapy treatments at Seattle Children’s Hospital in Seattle.
A major point that needs to be made is that the allegations that migrated to the Second Dependency Petition
had been resolved, settled, and closed In Seattle. There are two exceptions that are unrelated to the settled
allegations. What makes them different is they are not found in the First Petition, Those two exceptions are
The Gold’s Gym incident and information that TRUSCOTT personally gave to JANSEN. The two
exceptions will be explained later.

78 The Tri-Cities Commissioner, who authorized the court order to remove C.W. from his home,
made a reasonable assumption. She assumed that the allegations found in the Second Dependency Petition
were relevant, ongoing, and current. The fact is they were not. CPS did not disclose to the Commissioner
that most of the Second Petition was a reboot of the First Petition. The Commissioner was unaware that the
allegations that resurfaced on the Second Petition had been subjected to judicial review and were determined
to be unfounded. CPS kept the Commissioner off-balance by reinserting allegations that had been disproven
in Seattle. Furthermore, CPS treated the settled allegations as if they were urgent and had to be addressed.
Due to the deceptive action of CPS, the Commissioner operated in the dark and made a number of unwitting
decisions. CPS deceived the Commissioner into treating the rebooted allegations as ongoing. The action of
CPS to deceive was calculated. CPS exploited the trust of the Commissioner by presenting the rebooted
allegations as exigent and imminently harmful to C.W. The Commissioner’s decisions were unwitting
because she did not have a grasp of the relevant facts. As a result, the decisions made by her and the actions
that she approved unfairly harmed C.W. and his parents. Duane and Rachelle had to go through and endure
another unreasonable seizure of their son. They had to defend themselves yet again from the same
accusations of neglect that were disproven in Seattle. C.W- had to go through the trauma of being forcefully
removed from his family unit for a second time. On top of all that, it cannot be forgotten that this forced
separation occurred during a critical medical time period. This occurred when the parents were personally
responsible for administrating the last phase of C.W.’s chemotherapy drug treatment protocol for his acute
and life threatening illness,

THE TWO EXCEPTIONS

79 How the two exceptions fit into the Second Dependency needs to be explained. The two
exceptions are noteworthy because they did not migrate from the First Petition. The exceptions are the
Gold’s Gym Incident and the information given by TRUSCOTT to JANSEN. What sets Gold Gym apart is
the incident was current, relevant, and unsettled. The Gold’s Gym work-out was the catalyst for the CPS
investigation, and was the basis for the seizure of C.W. from his parents. Regardless of CPS’s intent to hide
this fact, the Gold’s Gym work-out was the reason for filing the Second Dependency Petition. The decision
by CPS to pack the Second Petition with rebooted allegations was meant to conceal the underlying

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vulnerability of CPS’s actions. Specifically, that the Gold’s Gym workout was not a legally sufficient reason
for the removal of C.W. from his family unit. CPS’s effort to deceive shows their concern that the seizure
of C.W, based on Gold’s Gym would not holdup under judicial review.

80 In respect to the Gold’s Gym incident, all information was pulled from a Kennewick police
report. The police report was a follow-up to a phone call placed from Gold’s Gym to a police dispatcher.
The complaint was, “inappropriate horseplay in a swimming pool”. Several days later, a police officer
interviewed one person at Gold’s Gym. The single source was a Gold Gym’s Manager. The Manager spoke
for two male staff members and described incidents that he did not personally witness. Neither the police
officer nor CPS interviewed the absent staff members in order to confirm the veracity of the Manager’s
statements, The Manager described incidents which categorically did not occur, One fabricated incident
described an alleged argument between John and a male staff member over the usage of a steam room located
next to the pool. The second incident alleged that the same staff member followed John and C.W. into a
locker room where the staff member felt that they spent too much time in a changing room. The changing
room is located in the center of the locker room. The Manager failed to disclose to the police officer that the
life guard was the only staff member present in the pool area, and that she interacted with John and C.W. on
the day they worked-out. She was present the entire time that John and C.W. were in the pool area. In
respect to a motive for giving a false police report to a police officer, The Manager disclosed, in a subsequent
phone call that the police report provided him the basis for terminating John’s membership with Gold’s Gym
without recourse. He also added that the truthfulness of the report “made no difference to him”.

81 The second exception concerns the information that TRUSCOTT provided to JANSEN. This
effort by TRUSCOTT was independent of her official duties or assignments in Seattle. Once again,
TRUSCOTT established a backchannel to give information that would unduly influence an investigation.
This time it was the investigation conducted in the Tri-Cities. The information from TRUSCOTT went to
JANSEN who passed it to DEOCHOA. DEOCHOA then used what he received to write an additional
allegation in the Petition, The allegation provided by TRUSCOTT is new in the sense that it was not pulled
from the First Dependency Petition. There is an important reason for that. The information that TRUSCOTT
provided to JANSEN was determined by the Senior Prosecuting Attorney for King County to be
compromised and tainted, Therefore, he refused to use the information in the Seattle case. The information
was connected to a second interview with C.W. that was established through deceptive and corrupt means.
What became apparent to the Prosecutor was that TRUSCOTT, BROWN, and C.W.’s grandmother
conspired to justify a reason for a second interview. Their joint activity involved deceptive action that
included the writing of a fraudulent note along with outright coercion of C.W. As the Prosecuting Attorney
became aware of the facts surrounding the interview, the decision was made to not use the information. By
that time, the exposure of TRUSCOTT’s pattern of misconduct facilitated the decision to disregard the
interview. TRUSCOTT’s pattern of conduct to unduly influence the CPS case again confirms her level of
disregard for conduct becoming of a police officer, and her complete indifference to the Constitutional rights
of others.

DECEPTIVE ACTS BY CPS

82 To write and justify the Second Dependency Petition, CPS engaged in wrongful action. The
wrongful action included misrepresentation, distortion, and omission of material fact. The action ranged
from basic deception to unlawful acts which violated clearly established Constitutional rights. The intent to

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use such action was to prevent the Commissioner from having command of the facts of the case. The first
deceptive act was to take settled and closed allegations from the Seattle case, reboot them, and then sell them
to the Commissioner as urgent and ongoing. As a result, the Commissioner spent five months believing that
the multiple allegations on the Petition were ongoing. The Commissioner did not grasp that the Second
Petition could be reduced to a single allegation. This fact was eventually brought to her attention by the
State Assistant Attorney General. He unexpectedly interceded by filing for a Hearing to Dismiss Meeting.
At that hearing, he explained to the Commissioner that the State had no legal standing for detaining C.W.
based on Gold’s Gym, and that C.W. should be immediately released to his parent’s care.

83 A second deceptive act was the effort by CPS to distort and misrepresent a relevant Stipulation
from a King County Superior Court Judge. The Judge had included a written Stipulation in a Sentencing
Memorandum. The Judge authorized work-outs between C.W. and John with the intent to preempt any type
of blowback from an agency such as CPS, Her single condition which remained in effect for one year was
that an adult be present. DEOCHOA and others were in possession of the Stipulation when they convinced
the Commissioner to grant a court order to seize C.W. based on imminent harm. This omission of material
fact from the Commissioner was followed by additional deceptive actions by CPS. CPS further deceived
the Commissioner by writing the Stipulation in a nonsensical manner in the Dependency Petition. The intent
of the distorted writing was to make the meaning of the Stipulation undiscernible to the Commissioner. This
allowed for CPS to disclose the Stipulation without giving away the actual meaning or intent, CPS knew
that revealing the actual meaning or intent would vitiate their justification for seizing C.W., which was
tethered to the Gold’s Gym workout.

84 A third deceptive act was the deliberate omission of exculpatory evidence by a number of CPS
officials. The officials include DEOCHOA, Case-manager LUND, and Supervisor GOQURLEY. CPS
conspired to omit and suppress testimony from a key witness who they had interviewed. The key witness
was the Senior Prosecuting Attorney for King County who had resided over the Seattle Case. The testimony
the prosecutor gave to the Tri-City officials was clearly exculpatory and would have vitiated probable cause
based on the Gold’s Gym workout. CPS suppressed this testimony from the Commissioner for a number of
months. The exculpatory testimony was not disclosed until the Motion to Dismiss Hearing. By this time,
C.W. had been in State custody for over five months. The disclosure was used by the State Assistant Attorney
General as part of his reason for asking that all charges brought forth by CPS be dismissed, and that C.W.
be immediately released from State custody. The main reason given by the Assistant Attorney General for
closing the case was his position that CPS had no basis for seizing C.W. He further explained that the State
would not prevail if the case moved forward.

COMMISSIONER POTTS

85 The Commissioner residing over the Second Dependency Petition was misled by CPS officials.
CPS used misrepresentation, omission, and distortion of material fact to keep the Commissioner from
recognizing the relevant issues. This hampered the Commissioner from performing her duties in a fair and
impartial manner. The Commissioner operated for months thinking the allegations before her were multiple
and ongoing, when in fact they were not. The Commissioner placed a level of trust toward the CPS officials
that was not earned, She fully accepted that the entire Dependency was relevant, when in fact it was not.
The Commissioner was distracted and misled to the point that she could not discern that the case hinged on
whether CPS was justified in seizing C.W. based on the Gold’s Gym workout. For months, the

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Commissioner did not have clarity that the legal issue was Gold’s Gym. What finally reached her was the
unexpected action of the Assistant Attorney General for Washington State. He felt compelled to step forward
and make a full and convincing argument to a Commissioner who was initially disbelieving, He argued that
the State needs to dismiss the case and release C.W. immediately. The reason given to a stunned and
confused Commissioner was that CPS had no basis for seizing C.W.

86 Because the Commissioner was deceived by CPS officials, several of her decisions were made
that were not supported by material and relevant fact. Even though CPS unduly influenced her decisions,
she was not free of judicial errors. Several key decisions caused substantive and procedural due process
violations of the Constitution. As a result, Duane, Rachelle, and C.W. were unjustly harmed.

87 The first judicial error by the Commissioner was the ease in which she granted CPS a court order
to seize C.W. If the Commissioner had exercised adequate judicial review, the emergency action by CPS
would have been denied based on the number of days that had elapsed since the Gold’s Gym work-out. CPS
could not have reconciled the passage of twenty-five days with the need to seize C.W. based on imminent
harm or danger. The lapse of time defeated a need for emergency action. The fact that the court order to
seize C.W. was granted during an ex-parte hearing is a procedural due process violation, Again, the elapse
of twenty-five days since the Gold Gym's workout negates any argument that the need for emergency action
justifies not having pre-deprivation notice and hearing. Furthermore, an ex-parte hearing did not give Duane
and Rachelle the opportunity to be heard at a meaningful time and in a meaningful manner. The post-
deprivation hearings contained judicial decisions and oversight that were also procedural due process
violations, The Commissioner failed to ensure a number of post-deprivation procedures that are guaranteed
rights protected by federal law. If emergency action was necessary due to imminent harm to C.W., due
process requires that judicial review of the reason for emergency action is adequate and promptly accorded.
This type of judicial review did not occur during post-deprivation hearings. The Commissioner was neither
prompt nor adequate in requiring CPS to defend their reason for resorting to emergency action to seize C.W,
As aresult, CPS did not justify the emergency action, and the legitimacy of their action remained unratified.
Instead, the Commission agreed with CPS that the proceedings would move in another direction. For Duane
and Rachelle, this direction was a game changer which caused additional harm. The harm included five
unwarranted months of anxious and futile effort to comply with a directive that was fundamentally unjust as
their son remained in State custody.

THE GAME CHANGER

88 The game changer was that Duane and Rachelle were directed to obtain a Harassment Protection
Order from the Benton County Superior District Court. The Protection Order was to be written against John,
The directive was coupled with the warning that this condition had to be met before the Commissioner would
consider releasing C.W. It was expressed that the Commissioner wanted a Harassment Order in place before
proceeding. This directive was expressed by individuals other than CPS and the Commissioner. Those
individuals include CPS defense attorneys who knew how the Tri-City Juvenile Justice System worked. It
was explained to Duane and Rachelle that ‘requiring a Harassment Order was a practice that has been used
by the Commissioners for years’. Duane and Rachelle were forced into the position of filing for a
Harassment Order they did not need nor want. Neither Duane, Rachelle nor C.W. felt they were being
harassed in any manner by John. To obtain a Harassment Order meant that Duane and Rachelle would have
to commit perjury by giving false statements to a District Court Judge. They felt corned and compromised

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but had no choice but to comply. The reason can be universally understood. They desperately wanted their
son back. Duane and Rachelle spent several months trying to get a Protection Order in place. After a number
of futile attempts, a Benton County District Court Judge blocked their effort. Her written decision was that
the matter of a Protection Order cannot be granted in District Court due to Duane and Rachelle’s
circumstances. The Judge’s opinion was that there was no place in the Superior Court System for granting
a Protection Order based on the need to satisfy a CPS directive. The Judge referred the issue back to the
Juvenile Justice System.

89 Coercing Duane and Rachelle to obtain a Harassment Protection Order was unlawful and
fundamentally wrong for several reasons. First, the State cannot leverage parents by holding a son hostage
in order to force the parents to seek a Protection Order. Duane and Rachelle should not have to fabricate an
urgency that does not exist in order to obtain a Protection Order they do not need or want. To use a
Harassment Protection Order in this manner is a travesty of the Justice System. Second, Duane and Rachelle
should not have to commit perjury in order to comply with a directive given by CPS. For CPS to require
compliance by means of perjury is a Substantive Due Process Violation of the Constitution. The State cannot
force or expect Duane and Rachelle to perjure themselves. Third, it is an Abuse of Process to use judicial
resources in an improper manner to coerce a person to do something legally they would not normally do,
This form of Abuse of Process qualifies as a Procedural due process violation of the Constitution. Coercing
Duane and Rachelle to legally seek a Harassment Protection Order that they did not want or need is an Abuse
of Process. Forcing Duane and Rachelle to use the District Superior Court system to secure a Harassment
Protection Order is using the judicial resources of the District Court in an improper manner, Coercing parents
to legally seek a Harassment Protection Order where the purpose is to exchange the Order for their child is
not the intended purpose of the Order, nor do the circumstances meet the criteria the Order was created to
address. Going one step further, CPS has violated the Constitution by implementing the directive of coercing
parents to obtain Harassment Orders as a condition that must be met before their child is released from State
custody, Forcing parents to do so in order to regain custody of their child has become a wide-spread practice
of the Tri-City Juvenile Justice System. This practice of using Harassment Orders in this unlawful manner
is not found in express written CPS policy or written law. What is significant is that the unlawful practice
of coercing parents to obtain a Harassment Order is so permanent and well-settled in the Tri-Cities Juvenile
Justice System that it has become a “custom or usage’ that has the force of a law.

CONSTITUTIONAL VIOLATIONS

90 The Second Dependency Petition resulted in a series of Constitutional violations. The violations
were against a number of Substantive and Procedural due process rights that are protected by the 4"" and 14"
Amendments of the Constitution. The series of Constitutional violations should begin with the decision by
CPS to seize C.W. from Duane and Rachelle’s custody and control. The basis for seizing C.W. was the
work-out at Gold’s Gym. The Gold’s Gym work-out does not qualify as a legally sufficient reason for CPS
to place C.W. into State custody. The ensuing CPS investigation conducted by Marco was not able to find
specific and articulable evidence that would create a reasonable cause to believe that C.W. was in any type
of imminent harm or danger, There is a reason for the absence of evidence. C.W. was not in any type of
imminent harm or danger, This includes his life with his family and the work-outs with John at Gold’s Gym.

91 A touchstone of the 4"" Amendment in evaluating the legitimacy of a seizure is the condition for
reasonableness. Seizing C.W. based on the Gold’s Gym workout absent specific and articulable evidence

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does not meet the standard of being reasonable. The lack of evidence makes the seizure of C.W. a violation
of the 4" Amendment. The fact that CPS waited a full twenty-five days before seizing C.W. further supports
that the State was not concerned about C.W. being subjected to imminent harm or danger. If CPS holds the
positon that they were concerned then they were neglectful and consequently liable in their delayed response
to the perceived threat,

92 Another 4" Amendment violation was the manner that CPS misled the Commissioner in order
to be granted a court order to remove C.W. from the parent’s custody. Marco and other officials were in
possession of a Stipulation when they convinced the Commissioner to grant the order to seize C.W. The
Stipulation was written by a Judge that authorized work-outs between C.W. and John. The Stipulation was
material to the case. CPS omitted the Stipulation from the Commissioner. The omission was crucial in
persuading the Commissioner to grant the court order to seize C.W, The information that CPS possessed at
the time they were asking for a court order can be compared with the standards used for probable cause for
a warrant. Probable cause can contain hearsay or information gathered hastily, but implicit in respect to
reasonableness under the 4 Amendment is that the information upon which the official proceeds is not
known to be false. This applies to omissions and misstatements if the judge or Commissioner was misled
by them. In regard to misstatements, the decision to grant a court order was influenced by a Dependency
Petition that CPS knew was founded on distortions and misrepresentations. CPS also knew that the
allegations in the Petition had been settled and closed, but convinced the Commissioner that the allegations
were ongoing and current. The omission of the Stipulation while the Commissioner was granting the court
order renders the seizure unconstitutional under the 4" Amendment. The use of a Petition that CPS knew
was founded on distortions and misrepresentations which the Commissioner based her decision to grant the
court order also makes the seizure unlawful under the 4 Amendment.

93 There were several 14° Amendment violations of the Constitution. These violations were
Substantive and Procedural due process violations. Duane and Rachelle were deprived of their nght to
familial integrity and privacy when C.W. was seized. They were also deprived of their fundamental liberty
interest in the care, custody, and management of C.W. These two Substantive due process rights are deeply
rooted in the Nation’s history, Duane and Rachelle cannot be deprived of these Substantive rights without
due process of law, Procedural due process includes the right for Duane and Rachelle to have a pre-
deprivation notice and a hearing before C.W. can be seized. The State violated this right by not having the
hearing before seizing C.W. There is an exception which allows for not having a pre-deprivation notice and
a hearing. The exception requires an ‘extraordinary situation’ where a valid government interest is at stake
that justifies postponing the hearing until the child has been seized. A ‘valid government interest’ includes
emergency circumstances where there is an immediate threat to the safety of a child. The mere possibility
of danger is not included in this exception, The Gold’s Gym work-out does not qualify as an ‘extraordinary
situation’. CPS confirmed through inaction that there was no immediate threat to C.W. CPS showed their
level of concern by letting twenty-five days elapse following the workout before seizing C.W. The manner
in which CPS treated the Gold’s Gym workout defeats any legal standing that Duane and Rachelle should
have been denied a pre-deprivation notice and a hearing.

94 There were additional 14 Amendment Procedural due process violations. During an ex-parte
hearing, CPS was granted a custody order by the Commissioner to seize C.W. Duane and Rachelle were
prevented from attending. Without their knowledge or participation their rights as parents were effectively

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denied, It is a Procedural due process violation to deny the parental rights of Duane and Rachelle without
giving them the opportunity to be heard at a meaningful time and in a meaningful manner. Several
Procedural due process violations also occurred during the post-deprivation hearings. The post-deprivation
hearings did not address the emergency action by CPS that justified not having a pre-deprivation notice and
a hearing. The emergency action was based on Gold’s Gym. Since there was no prompt and adequate
judicial review the requirement to ratify the emergency action did not occur, The result was that CPS was
not pressed by the Commissioner to justify their reason for removing C.W. based on the Gold’s Gym workout.
For Duane and Rachelle, to be denied judicial review of the emergency action in a prompt and adequate
manner so the emergency action can be ratified by the court is yet another Procedural due process violation.

95 The post-deprivation hearings moved in a direction which caused further 14 Amendment
violations to Duane and Rachelle. The directive by the Commissioner for a Harassment Protection Order
resulted in both Substantive and Procedural due process violations. Requiring Duane and Rachelle to seek
a Harassment Order before consideration would be given to release C.W. from State custody is a clear Abuse
of Process. The manner in which the Commissioner applied the Harassment Order is not the intended
purpose of the Order, nor does it meet the threshold of what the Order was created to address. Using the
Benton County District Court and coercing Duane and Rachelle to secure a Harassment Order that they do
not need nor want meets the definition of an Abuse of Process. That is, using judicial resources in an
improper manner to coerce the victim to do something legally they would not normally do. To place this
condition on Duane and Rachelle is a Procedural due process violation of the 14°" Amendment. In addition,
the ease and frequency that the Harassment Order was misused by the Juvenile Justice System in the Tri-
Cities meets the threshold of a de-facto policy that caused Constitutional harm. The unlawful use of the
Harassment Order is a wide-spread practice that is not supported by written law or express policy but is so
well-settled and permanent that it has become a custom or usage that has the force of a law. On a larger
scale in respect to an unlawful policy implemented by CPS, Duane and Rachelle have been harmed. Again,
to coerce Duane and Rachelle to comply with this unlawful practice is a Procedural due process violation of
the 14° Amendment. In addition, Duane and Rachelle were coerced into a compromising position by having
to provide false statements in a District Court in the attempt to convince the judge that there were legitimate
reasons for needing a Harassment Protection Order. The underlying conflict involved the absence of
harassment to report yet the Commissioner wanted a Harassment Protection Order in place before releasing
C.W. This is a fundamental Substantive due process violation of the 14" Amendment of the Constitution.
Primarily, Duane and Rachelle should not be coerced by the State into having to commit perjury in exchange
for their son to be released from State custody,

FIRST CLAIM FOR RELIEF COUNTS 1,2,3,4,5,6, and, 7 FOR VIOLATION OF FEDERAL
CIVIL RIGHTS (42 U.S.C §1983) Fourteenth Amendment Due Process
Unreasonable seizure of C.W. in violation of Plaintiffs’ Fourteenth Amendment
Substantive Due Process Right to Familial Association.

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96 Plaintiff realleged, and to the extent applicable, incorporates herein as if set forth in full, all
paragraphs above, and all paragraphs below.

97 Plaintiffs are an individual and citizen of the United States, protected by 42 U.S.C. $1983,

98 At all times relevant to this complaint, DEFENDANTS were acting under color of state law and had a
duty to honor Plaintiffs’ Constitutional rights, Plaintiffs are informed and believe and thereon allege that
the right to familial association guaranteed under, without limitation, the and Fourteenth amendments to
the United States Constitution is “clearly established” such that a reasonable social services agent or
government official in Defendants’ situation would know it is unlawful to seize a child from the care,
custody, and control of its parents in the absence of exigent circumstances without first providing parents
with notice and an opportunity to be heard prior to obtaining a warrant. The Fourteenth Amendment
guarantees that parents will not be separated from their children without due process of law except in
emergencies.

99 At all times relevant herein, there was a well elaborated constitutional right [for families] to live together
without governmental interference.” !

1100 The issue at stake is the fundamental rights of the parents weighed against justifiable action by the
government. The due process clause of the Fourteenth Amendment “provides heightened protection against
government interference with certain fundamental rights and liberty interests.” Troxel v. Granville, 530
U.S. 57, 120 S.Ct. 2054, 147 Led.2d 49 (2000). This heightened protection encompasses the right of
parents to the “care, custody, and management” of their children, Santosky v, Kramer, 455 U.S. 745, 753,
102 S.Ct, 1388, 71 L.Ed.2d 599 (1982). In the context of forcefully removing a child from the parents, the
“touchstone of the Fourth Amendment is reasonableness.” Snell v. Tunnell, 920 F.2nd at 697 (10th
Cir.1990). The Fourth and Fourteenth Amendments share the same legal standards in respect to any effort
by the State to remove a child. (citing Stanley, 405 U.S. 645, 651 (1972)). Wallis Jd. at 1138.

101 The Wallis court made clear the boundaries of reasonable cause; The existence of reasonable cause,
and the related questions, are all questions of fact to be determined by the jury. McKenzie y. Lamb, 738
F.2d 1005, 1008 (9th Cir.1984) (per Kennedy, J.); Smiddy v. Varney, 665 F.2d 261, 265 (9th Cir.1981)
(per Sneed, J,) Summary judgment in favor of the defendants is improper unless, viewing the evidence in
the light most favorable to the plaintiffs, it is clear that no reasonable jury could conclude that the plaintiffs’

constitutional rights were violated.

102 [Government officials] cannot seize children suspected of being abused or neglected unless reasonable
avenues of investigation are first pursued, particularly where it is not clear that a crime has been-or will be-
committed. Whether a reasonable avenue of investigation exists, however, depends in part upon the time
element and the nature of the allegations. /d.; see also Hurlman v. Rice, 927 F.2d 74, 81 (2d Cir. 1991)
(warning of the negative consequences that would result if the "mere possibility" of danger constituted an
emergency). Private entitites can be held accountable under 1983. “To act ‘under color of” state law for §

' Wallis v. Spencer, 202 F.3d 1126, 1136 (9th Cir. 2000); accord Kirkpatrick v, Cty, of Washoe, 843 F.3d 784, 789 (9th Cir. 2016) (en banc);
Burke v. Cty. of Alameda, 586 F.3d 725, 731 (9th Cir. 2009); Rogers v, Cty. of San Joaquin, 487 F.3d 1288, 1294 (9th Cir. 2007); Mabe v. San
Bernardino Cty., 237 F.3d 1101, 1107 (9th Cir. 2001); Ram y. Rubin, 118 F.3d 1306, 1310 (9th Cir. 1997).

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1983 purposes does not require that the defendant be an officer of the State.” Dennis v. Sparks, 449 U.S.
24, 27 (1980). “It is enough that he is a willful participant in joint action with the State or its agents.” Id. at
28; see also Howerton y. Gabica, 708 F.2d 380, 382 (9th Cir. 1983). Mendocino Envtl. Ctr. v. Mendocino
County, 192 F.3d 1283, 1301 (9th Cir. 1999), The agreement need not be overt, and may be inferred on the
basis of circumstantial evidence such as the actions of the defendants. (Id, at 1301-1302.) Plaintiffs need
only allege a meeting of the minds as to the conduct that ultimately caused the constitutional violation —
not a meeting of the minds to violate Plaintiff's constitutional rights by performing the agreed conduct. See
United Steelworkers of Am., 865 F.2d 1539, 1541 (9th Cir. 1989); Fonda v. Gray, 707 F.2d 435, 437 (9th
Cir. 1983). Furthermore, liability for each individual in the conspiracy accrues when the participant shares
in the common objective of the conspiracy, regardless of whether they know the full details of the plan.
Franklin v. Fox, 312 F.3d 423, 441 (9th Cir. 2002). Just as in United States v. Wiseman, supra, 445 F.2d
at 796, Sugarman y Perez 2™ circuit (1974) “directly involves defendants’ mode of conducting the public
function and does not involve a collateral aspect of" the business of operating an institution which cares for
children. The existence of this nexus has made the courts more receptive to a finding of "state action.” See,
e. g., id. at 796. The governmental nexus test, is one of at least four different tests used by courts to
determine whether sufficient state involvement exists to support the conclusion that a “private actor’ has
acted “under color of state law.” See Howerton v, Gabica, supra, 708 F.2d 380, 382-383 (9th Cir. Idaho
1983). ?

In respect to consensual child seizures, “Consent” that is the product of official intimidation or harassment is
not consent at all. Citizens do not forfeit their constitutional rights when they are coerced to comply with a
request that they would prefer to refuse. Florida v Bostic (S. Ct. 1991). The fourth amendment's protection
against unreasonable seizures is triggered " ‘only if, in view of all of the circumstances surrounding the
incident, a reasonable person would have believed that he was not free to [take their child and leave].'"
United States v. Rose, 889 F.2d 1490, 1493 (6th Cir.1989) (quoting United States v. Mendenhall, 446 U.S.
544, 554, 100 S.Ct. 1870, 1877, 64 L.Ed.2d 497 (1980). Coercive or intimidating behavior supports a
reasonable belief that compliance is compelled.’

1103 Coercion can be mental as well as physical. Blackburn v. Alabama 361 U.S. 1999, 2016 (1960). The
separation does not have to be carried out with force for due process to be implicated; instead, duress or
coercion will be sufficient, such as where a social-services worker threatens to place the children in foster
care if the children are not “voluntarily” placed outside of the home with family or friends. Croft v.
Westmoreland County Children & Youth Servs., 103 F.3d 1123, 1125 (3d. Cir. 1997); Dupuy v. Samuels,
462 F.Supp.2d 859 (N.D. Ill. 2005), aff'd, 465 F.3d 757 (7th Cir. 2006).

§ 1983 has served asa vehic le for Semen ws against corporate entities, eer e. g. ‘Erase v: ee Gas of Ohio, Ine., 479 F a 152 (6 Cir, 1973);

3 United States v. Collis, 766 F.2d 219, 221 (6th Cir.), cert. denied, 474 U.S. 851, 106 S.Ct. 150, 88 L.Ed.2d 124 (1985) see also Cassady v. Tackett. Consent to
warrantless entry must be voluntary and not the result of duress or coercion. Lack of intelligence, not understanding the right not to consent, or trickery

invalidate voluntary Schneckloth v. Bust: te. One's of his or her right to refuse consent to warrantless entry is relevant to the issue of
voluntariness of alleged content. Lion Boulos v. Wilson. The exigent circumstances exception to the warrant clause only applies when ‘an immediate major crisis
in the performance of duty afforded neither time nor opportunity to apply to a magistrate.’ 342 N.W.2d 851, 855 (lowa 1983) State vy Hatter (1983).

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04 Defendants, and each of them, had and have an affirmative duty and obligation to recognize the
constitutional rights of parents and conduct themselves in a manner that confirms, protects, and does not
violate the protections guaranteed Plaintiffs under the United States Constitution, including those
substantive and procedural rights arising under the Fourteenth Amendments, to include without limitation,
the protection of parental rights, the right to privacy, family integrity, and the right to familial relations,
The government may not interfere with constitutional rights, including the prior provision of procedural
due process, the subsequent provision of substantive due process, the right to free speech, the right to be
free from coercion, the right to petition for the redress grievances, and the right be free from search and
seizure,

105 The violation(s) were proximately caused by a person under color.

06 FIRST CLAIM, COUNT 1: By Plaintiffs against defendants CHOW, and DOES 1-100, inclusive.
Plaintiffs are informed and thereon allege that defendants violated Plaintiffs’ right to family association.
Plaintiffs are informed and believe and thereon allege that on approximately June 23, 2014, an
unreasonable seizure occurred when C.W. was held at the hospital and not free to leave. Defendants and
each of them were acting under color of state law when — in JUNE 2014 — they seized, or agreed and
conspired to unlawfully seize, remove, and/or detain C.W. in the absence of obtaining a Court Order,
No exigent circumstances existed which might excuse said failure to obtain a court order prior to said
seizure. Defendants knew or should have known that there was no basis to do so. Said conduct therefore
constitutes a violation of Plaintiff’s rights guaranteed by the Fourteenth Amendments to the United States
Constitution.

Pee FIRST CLAIM, COUNT 2: By Plaintiffs against defendants BROWN, TRUSCOTT, SMITH,
WEISTER and DOES 1-100, inclusive. Plaintiffs are informed and thereon allege that defendants violated
Plaintiffs’ right to family association. Plaintiffs are informed and believe and thereon allege that on June
25, 2014, an unreasonable seizure occurred when C.W. was taken into custody. Defendants and each of
them were acting under color of state law when —in JUNE 2014 — they seized, or agreed and conspired to
unlawfully seize, remove, and/or detain C.W. in the absence of obtaining a Court Order. No exigent
circumstances existed which might excuse said failure to obtain a court order prior to said seizure.
Defendants knew or should have known that there was no basis to do so. Said conduct therefore
constitutes a violation of Plaintiff's rights guaranteed by the Fourteenth Amendments to the United States
Constitution.

108 FIRST CLAIM, COUNT 3: By plaintitfs against defendants BROWN, TRUSCOTT, DEOCHOA, and
DOES 1-100, inclusive. Plaintiffs are informed and thereon allege that defendants violated Plaintiffs’ right
to family association. Plaintiffs are informed and believe and thereon allege that on June 27", 2014 a
second unreasonable seizure/detainment as the result of coercion. Defendants and, each of them, were
acting under color of state law when — in JUNE 2014~ they coerced plaintiffs’ into signing a voluntary
placement agreement (VPA) revoking police custody, or agreed and conspired to unlawfully seize,
remove, and/or detain C.W. in the absence of obtaining a Court Order No exigent circumstances existed
which might excuse said failure to obtain a court order prior to said seizure. Defendants knew or
should have known that there was no basis to do so. Said conduct therefore constitutes a violation of
Plaintiff's rights guaranteed by the Fourteenth Amendments to the United States Constitution.

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109 FIRST CLAIM, COUNT 4: By Plaintiffs against Defendants BROWN, TRUSCOTT, CHOW and
DOES 1-100, inclusive, in violation to the right to family association, Plaintiffs are informed and believe
and thereon allege that on approximately June 30", 2014, an unreasonable seizure/detainment of C.W.
occurred when Defendant Chow issued a medical hold at Seattle Children’s Hospital, a hold that was pre-
determined by BROWN. Defendants, and each of them, were acting under color of state law when — in
JUNE 2014 and/or JULY 2014 — they seized, or agreed and conspired to unlawfully seize, remove, and/or
detain C.W. in the absence of obtaining a Court Order. No exigent circumstances existed which might
excuse said failure to obtain a court order prior to said seizure. Defendants knew or should have known
that there was no basis to do so. Said conduct therefore constitutes a violation of Plaintiff's rights
guaranteed by the Fourteenth Amendments to the United States Constitution.

1110 FIRST CLAIM, COUNT 5: By Plaintiffs against Defendants, BROWN, TRUSCOTT, and DOES 1-
100, inclusive. Plaintiffs are informed and thereon allege that defendants violated Plaintiffs’ right to
familial association. Plaintiffs are informed and believe and thereon allege that on approximately July Ist,
2014, an unreasonable seizure/detainment of C.W. occurred when TRUSCOTT again took C.W. into
custody, in a seizure that was not court ordered. Defendants and each of them, were acting under color of
state law when — in JUNE 2014 and/or JULY 2014 — they seized, or agreed and conspired to unlawfully
seize, remove, and/or detain C.W. in the absence of obtaining a Court Order. No exigent
circumstances existed which might excuse said failure to obtain a court order prior to said seizure.
Defendants knew or should have known that there was no basis to do so. Said conduct therefore
constitutes a violation of Plaintiff's rights guaranteed by the Fourteenth Amendments to the United States
Constitution.

111 FIRST CLAIM, COUNT 6: By Plaintiffs against Defendants; BROWN, TRUSCOTT, DEOCHOA,
and DOES 1-100, inclusive, in violation to the right to familial association. Plaintiffs are informed and
believe and thereon allege that on approximately July 3“ 2014, an unreasonable seizure/detainment
occurred. Defendants and each of them, were acting under color of state law when — in JULY 2014 — they
seized, or agreed and conspired to unlawfully seize, remove, and/or detain C.W. using trickery,
deception, coercion, and duress to gain compliance from Plaintiffs. DEOCHOA signed and submitted,
under penalty of perjury, misleading and distorted evidence to the juvenile court. The Shelter Care order
was obtained by submitting distorted and misleading evidence to the Judge. There was no prompt
judicial review ratifying the emergency action that was in any way adequate. Defendants knew or should
have known that there was no basis to continue to hold on to C.W. Said conduct therefore constitutes a
violation of Plaintiff's rights guaranteed by the Fourteenth Amendments to the United States Constitution.
Before, during and after this proceeding, Plaintiffs, were coerced. Said conduct therefore constitutes a
violation of Plaintiff's rights guaranteed by the Fourteenth Amendments to the United States Constitution.

112 FIRST CLAIM, COUNT 7: By Plaintiffs against DEOCHOA, JANSEN, TRUSCOTT, BROWN,
WEISTER, DOES 1-100, Inclusive. Plaintiffs are informed and thereon allege that defendants violated
Plaintiffs’ right to Familial association. Plaintiffs are informed and believe and thereon allege that
omissions, distortions, and misrepresentation presented in the juvenile court caused the unreasonable
seizure of C.W. on January 27, 2016, Defendants, and each of them, were acting under color of state law
when they agreed and/or conspired to unlawfully seize, remove, and/or detain C.W.., and in fact did seize
C.W. — in JANUARY 2016 — using a court order that was granted by a commissioner who was misled by a

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vast amount of misinformation including omissions, distortions, and misrepresentations. Pre-deprivation
procedures were lacking. There were reasonable avenues of investigation that were not pursued, pre-
deprivation notice and a hearing were not provided, even when no emergency existed, and CPS failed to

present complete and accurate evidence to the court. No exigent circumstances existed which might

excuse said failure to provide Plaintiffs with notice and an opportunity to be heard prior to the
seizure. Defendants knew or should have known that there was no basis to do so. Said conduct therefore

constitutes a violation of Plaintiff's rights guaranteed by the Fourteenth Amendments to the United States
Constitution.

1113 FIRST CLAIM, COUNT 8: By Plaintiffs against Defendants; LUND, GOURLEY, and DOES 1-100,
inclusive. Plaintiffs are informed and thereon allege that defendants violated Plaintiffs’ right to familial
association. Plaintiffs are informed and thereon allege that the continued detention of C.W. was
unreasonable under the Fourth and Fourteenth Amendment and a violation of the Right to Family
Association. The violation occurred between January 2016 and June 2016. Defendants and each of them,
were acting under color of state law when — in JANUARY 2016 through JUNE 2016 — they seized, and/or
agreed and conspired to continue to detain C.W. Plaintiffs were not provided with notice and an
opportunity to be heard prior to a Commissioner granting a Court Order to take C.W. into custody. The
right to notice and a hearing did not vanish. Notice and an opportunity to be heard at a meaningful time
in a meaningful manner are required. Defendants had a duty to provide a prompt and adequate post-
deprivation judicial review to ratify emergency action, because this was a child custody case. None of that
occurred. The unreasonable seizure of their son placed duress on Plaintiff's. Defendants knew or should
have known that there was no basis to continue to detain C.W. for months, A protection order requirement
was used as leverage to coerce and trick Plaintiffs. Defendants suppressed exculpatory evidence
material to the case, that was suppressed for months. Said conduct therefore constitutes a violation of
Plaintiff's rights guaranteed by the Fourteenth Amendments to the United States Constitution.

{L14 Defendants, and each of them, maliciously violated and/or conspired to violate the civil rights of
Plaintiffs, including violation of Plaintiffs’ rights found in the Fourteenth Amendment of the United States
Constitution, by, but not limited to, removing, detaining, and continuing to detain the minor, otherwise
causing C.W. to continue to be detained from his parents’ care, custody, and control without proper or just
cause and/or authority, and by use of coercion, duress, or fraud. Said acts were taken deliberately, with
callous or reckless indifference to the substantial rights of Plaintiffs, or fueled by an evil motive or intent.

115 As a direct and proximate result of the misconduct, Plaintiffs have suffered, and will continue to suffer,
general and special damages according to proof at trial, including but not limited to, physical and/or mental
anxiety and anguish, among other things.

116 Plaintiffs are therefore entitled to recover punitive damages from Defendants, and each of them, as

permitted by law and as according to proof at trial, due to the wrongful conduct of defendants as herein
alleged.

117 Defendants, and each of them, maliciously violated and/or conspired to violate the civil rights of
Plaintiffs, including violation of Plaintiffs’ rights found in the Fourteenth Amendment of the United States
Constitution, by, but not limited to, removing, detaining, and continuing to detain the minor, otherwise
causing C.W, to continue to be detained from his parents’ care, custody, and control without proper or just

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cause and/or authority, and by use of coercion, duress, or fraud. Said acts were taken deliberately, with
callous or reckless indifference to the substantial rights of Plaintiffs, or fueled by an evil motive or intent.

118 As a direct and proximate result of the misconduct, Plaintiffs have suffered, and will continue to suffer,
general and special damages according to proof at trial, including but not limited to, physical and/or mental
anxiety and anguish, among other things.

119 Plaintiffs are therefore entitled to recover punitive damages from Defendants, and each of them, as
permitted by law and as according to proof at trial, due to the wrongful conduct of defendants as herein
alleged.

SECOND CLAIM FOR RELIEF COUNTS 1, 2, and 3
Fourteenth Amendment — Substantive Due Process
A parent has a liberty interest in familial association and therefore a
right to be free from deception in the presentation of evidence.

120 Plaintiff realleged, and to the extent applicable, incorporates herein as if set forth in full, all
paragraphs above, and below.

121 At all times relevant to this complaint, DEFENDANTS were acting under color of state law and had a
duty to honor Plaintiffs’ Constitutional rights. Plaintiffs are informed and believe and thereon allege that
the right to be free from deception in the presentation of evidence, without limitation, the Fourteenth
amendment to the United States Constitution is “clearly established” such that defendants had the
affirmative and self-evident duty to be truthful, accurate, and complete in petitions, reports and evidence
that would eventually be relied upon by the juvenile court — a court with power to adjudicate substantial
rights, including legal and custodial rights of children and parents. Similarly, defendants had an equal duty
to refrain from using improper and deceptive means to obtain judicial orders sustaining recommendations
disparaging and/or otherwise impairing or impinging upon Plaintiff's due process rights. The Fourteenth
Amendment guarantees Parents the right to be free from deception in the presentation of evidence.

1122 At all times relevant herein, there existed a clearly established due process right of individuals not to
be subjected to false accusations by government officials, including the deliberate presentation of false or
perjured evidence, and/or by the suppression of exculpatory information in court proceedings or in
documents submitted with recommendations or requests made to the court.

{L23 In the context of a seizure of a child by the State during an investigation, a court order is the equivalent
of a warrant.” Tenenbaum v. Williams 193 F.3d 581, 602 (2™) Cir. 1999, Obtaining a court order by
deceiving a judge or commissioner in order to obtain judicial authorization is unjustifiable and therefore
unreasonable, The standard of reasonableness established by legal precedent makes this type of seizure a
clear violation of the Fourth, and by direct effect. [a violation of] the Fourteenth Amendment of the
Constitution. Arapahoe County Dept. of Social Services, 191 F.3d 1306, 1315 (10th Cir, 1999),
“Government officials’ procurement of a court order to remove children based on information they knew
was founded on distortion, misrepresentation and omission, violates the Fourth Amendment”. An officer

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who obtains a warrant through material false statements which result in an unconstitutional seizure may be
held liable personally for his actions under section 1983. False statements made to obtain a warrant, when
the false statements were necessary to the finding of [reasonable cause] on which the warrant was based,
violates the Fourth Amendment's warrant requirement. The warrant clause contemplates the warrant
applicant to be truthful: "no warrant shall issue, but on [reasonable cause], supported by oath or
affirmation.” Deliberate falsehood or reckless disregard for the truth violates the warrant clause. When a
warrant application is materially false or made in reckless disregard for the truth, the warrant becomes
invalid and will have been obtained in violation of the Fourth Amendment's warrant clause. Aponte Matos
v Toldeo Davilla (1* Cir. 1998). Aponte Matos v. Toledo Davilla (1st Cir. 1998). See also Brokaw v
Mercer County (7" Cir. 2000). The Supreme Court held that the knowing use of false testimony by a
prosecutor in a criminal case violates the Due Process Clause of the Fourteenth Amendment to the United
States Constitution, even if the testimony affects only the credibility of the witness and does not directly
relate to the innocence or guilt of the defendant, Nakupe v. Illinois (1959) 360 U.S. 264, 269; Under Pyle
v. Kansas, 317 U.S. 213, 216 (1942), the knowing use by the prosecution of perjured testimony in order to
secure a criminal conviction violates the Constitution. While Pyle does not deal specifically with the
bringing of criminal charges, as opposed to the securing of a conviction, we find that the wrongfulness of
charging someone on the basis of deliberately fabricated evidence is sufficiently obvious, and Pyle is
sufficiently analogous, that the right to be free from such charges is a constitutional right. “It is a
requirement that cannot be deemed to be satisfied by mere notice and hearing if a state has contrived a
conviction through the pretense of a trial which in truth is but used as a means of depriving a defendant of
liberty through a deliberate deception of court and jury by the presentation of testimony known to be
perjured, Such a contrivance by a state to procure the conviction and imprisonment of a defendant is as
inconsistent with the rudimentary demands of justice as is the obtaining of a like result by

intimidation,’ Mooney v. Holohan (1935) 294 U.S. 103 1 112.

124 The Fifth Circuit in Morris v. Dearborne (1999) found that the state denied plaintiff the fundamental
right to a fair procedure before having their child removed by the intentional use of fraudulent evidence
during the procedure. Parents have a right to procedural due process. Any reasonable social services agent
and/or government agent would know that it is a due process violation to lie, exaggerate, fabricate
evidence, and/or suppress material exculpatory evidence in court reports and other documents filed with
the juvenile court, and/ or relied upon by subsequent social workers, Implicit in the Franks concept of
reasonableness under the Fourth Amendment "is that the information on which the social worker proceeds
... is not known to be false." Snell, 920 F.2d at 699. The Franks rule applies to omissions as well as
affirmative misstatements if the magistrate or judge was misled by them. DeLoach, 922 F.2d at 621-22.
The question comes down to whether the defendant's actions were objectively reasonable in light of the
law and information the defendant possessed at the time of his actions. Hollingsworth v. Hill, 110 F.3d
733, 737 (10th Cir. 1997). *

ms Therefore, “[a]n official satisfies the personal responsibility required of § 1983 if she acts or fails to act with a deliberate or reckless
disregard of plaintiff's constitutional rights, or if the conduct causing the constitutional deprivation occurs at her direction or with her
knowledge or consent." Smith v. Rowe, 761 F.2d 360, 369 (7th Cir.1985). Chism v. Washington State (9th Cir.2011) 661 F.3d 380, 388—
389 (Chism), Under Chism, in order to demonstrate a violation of Plaintiffs’ due process Right to be free from judicial deception “'a

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125 The Greene court reasoned: “(T]he right to be free from deception in the presentation of evidence
during a protective custody proceeding was clearly established at the time Camreta [the child protective
services worker] filed his affidavit with the Juvenile Court. In Devereaux v. Perez, 218 F.3d 1045 (9th
Cir.2000) [reh'g en bane granted by 235 F.3d 1206 and reh'g en banc (2001) 263 F.3d 1070], the Ninth
Circuit held in the context of a child abuse proceeding that ‘the constitutional right to be free from the
knowing presentation of false or perjured evidence’ is clearly established. Id, at 1055-56, Even earlier,
we stated emphatically that ‘if an officer submitted an affidavit that contained statements he knew to be
false or would have known were false had he not recklessly disregarded the truth, he cannot be said to have
acted in an objectively reasonable manner, and the shield of qualified immunity is lost.’ Hervey y. Estes,
65 F.3d 784. 788 (9th Cir. 1995) (internal quotations and citation omitted); see also Butler [v. Elle (9th
Cir.2002) 281 F.3d 1014, 1024]; Whitaker v. Garcetti (9th Cir.2007) 486 F.3d 572, 582 (concluding that
‘the contours of the Fourth Amendment right against judicial deception’ were clearly established by 1996).

1126 A defendant in a civil rights case is not entitled to any immunity if he or she gave false information either
in support of an application for a search warrant or in presenting evidence to a prosecutor on which the
prosecutor based his or her charge against the plaintiff. Young v. Biggers Fifth Cir. (1991)

{127 Malik v. Arapahoe County Dept. of Social Serv., 191 F.3d 1306, 1315 (10th Cir.1999) ‘Government
officials’ procurement of a court order to remoye children based on information they knew was founded on
distortion, misrepresentation and omission, violated the Fourth Amendment); Malik v. Arapahoe County
Dept. of Social Services, 191 F.3d 1306, 1315 (10th Cir.1999). Malik relies by analogy on Bruning v. Pixler,
949 F.2d 352, 356 (10th Cir.1991), which held in the context of arrest warrants that, “to knowingly or
recklessly omit from the arrest affidavit information which, if included, would vitiate [reasonable cause],”
constitutes a violation of a plaintiff's Fourth and Fourteenth Amendment right to be free from unreasonable
seizures. Technically true statements may be misleading if exculpatory evidence is omitted. United States
v Stanert (1985) 762 F.2d 775, 781; see, e.g,, United States v. Reilly (2d Cir. 1996) 76 F.3d 1271 1280.

1128 In light of long-standing criminal prohibitions on making deliberately false statements under oath, [no
government officer including Social Workers] could reasonably believe that he/she was acting lawfully in
making deliberately false statements to the juvenile court in connection with the removal of a dependent
child from a caregiver. Since qualified immunity protects officials ‘who act in ways they reasonably
believe to be lawful’ (Garcia v. County of Merced (9th Cir.2011) 639 F.3d 1206, 1208), we think that it is

substantial showing of [the social workers'] deliberate falsehood or reckless disregard for the truth and establish that, but for the
dishonesty, would not have occurred.’ (Chism, supra, at p. 386.) Social workers are entitled to qualified immunity unless they violated a
“clearly established” constitutional right. (Carroll, supra, 135 S.Ct. at p. 350.) In Greene v. Camreta (9th Cir.2009) 588 F.3d L011, 1034—
1035 (Greene ), vacated in part on other grounds by Camreta y. Greene (2011) _ U.S. _ [131 S.Ct. 2020] and vacated in part on other
grounds by Greene v. Camreta (9th Cir.2011) 661 F.3d 1201, the Ninth Circuit concluded that, as of March 2003, a parent had a clearly
established right not to be subject to judicial deception perpetrated by a [government official] securing an order removing a child from the
parent's custody. (Greene, supra, at p. 1035; see id. at p. 1018.) Whether the alleged judicial deception was brought about by material
false statements or material omissions is of no consequence, because by “reporting less than the total story, an affiant can manipulate the
inferences a [judge] will draw.” Liston v. County of Riverside (9" Cir. 1997) 120 F.3d 965, 973. Due process is obstructed when
government agents commit fraud on the courts. Norther Marina Islands vy. Bowie (9" Cir, 2001) 243 F.3d 1109, 1125. There is no such
thing as a minor amount of actionable perjury or of false evidence that is somehow permissible. Social workers who give swom testimony
under oath function as a complaining witness, Kalina v Fletcher (1997) 522 U.S. 118, 130-131; Miller y Gammie (9" cir. 2003 335 F.3d
889, 897; Beltran v Santa Clara County (9"" cir, 2008) 514 F.3d 906 9 908.

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“virtually self-evident” (Devereaux, supra, 263 F.3d at p. 1075) that qualified immunity does not apply to
such acts. (See Walker v. City of New York (E.D.N.Y.2014) 63 F.Supp.3d 301, 312 “It is axiomatic that a
caseworker seeking the protection of qualified immunity cannot have utilized perjury and intentional
fabrications during her investigation and in presenting a case to the Family Court”.)

129 The violation(s) were proximately by a person under color.

1130 SECOND CLAIM OF RELIEF, COUNT 1: By plaintiffs against Defendants DEOCHOA, BROWN,
TRUSCOTT, SMITH, and DOES 1-100. Plaintiffs are informed and thereon allege that defendants
violated Plaintiffs’ right to be free from deception in the presentation of evidence, These defendants were
acting under color of state law when they singularly and/or jointly acted, agreed, and/or conspired by
acting or failing to act with a deliberate or reckless disregard of plaintiff's constitutional rights, or the
constitutional deprivation occurs at defendant’s direction or with knowledge or consent by, but not limited
to, engaging in deception in the presentation of evidence. False evidence was included in a
petition/declaration and submitted to the juvenile court under penalty of perjury in - JULY 2014- and
each of them, either singularly or jointly acted, and/or conspired, to deliberately or recklessly provide
false and/or distorted statements and/or omit known exculpatory evidence to DEOCHOA, who
omitted exculpatory evidence and included the misrepresentations and distortions in the Petition
and/or reports filed in the Juvenile Court.

haa SECOND CLAIM OF RELIEF, COUNT 2: By Plaintiffs against Defendants DEOCHOA, JANSEN,
TRUSCOTT, BROWN, WEISTER, and DOES 1-100, Inclusive. Plaintiffs are informed and thereon allege
that defendants violated Plaintiffs’ right to be free from deception in the presentation of evidence, Defendants
were acting under color of state law when they either singularly or jointly acted, agreed, and/or conspired by
acting or failing to act with a deliberate or reckless disregard of plaintiff's constitutional rights, and/or the
constitutional deprivation occurred at defendant’s direction or with knowledge or consent by, but not limited
to, engaging in deception in the presentation of evidence. False evidence was included in_a
petition/declaration and submitted to the juvenile court in -January 2016-, and each of them, either
singularly or jointly acted, and/or conspired, to deliberately or recklessly present false and/or distorted
statements and/or omit known exculpatory evidence to DEOCHOA, who omitted exculpatory evidence and
included distortions, and misrepresentations in the petition and/or reports filed in the Juvenile Court.

132 SECOND CLAIM OF RELIEF, COUNT 3: By Plaintiffs against Defendants LUND, GOURLEY,
DEOCHOA, JANSEN, TRUSCOTT, BROWN, WEISTER, and DOES 1-100, Inclusive. Plaintiffs are
informed and thereon allege that defendants violated Plaintiffs’ right to be free from deception in the
presentation of evidence. Defendants, were acting under color of state law when they singularly and/or
jointly acted, agreed, and/or conspired by acting or failing to act with a deliberate or reckless disregard of
plaintiff's constitutional rights, or the constitutional deprivation occurred at defendant’s direction or with
knowledge or consent by, but not limited to, engaging in deception in the presentation of evidence. The
false and misleading evidence was included in reports submitted, and exculpatory evidence was not
submitted, to the juvenile court unit! -June 2016- even though it was available months earlier-.
Defendants and each of them, either singularly or jointly acted, and/or conspired, to deliberately or
recklessly present false and/or distorted statements and/or omit known exculpatory evidence to CPS social
workers who omitted exculpatory evidence and included distortions, and misrepresentations in petitions
and/or reports filed with the Juvenile Court.

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133 This deceptive, coercive, and unconstitutional conduct caused and unreasonable seizure of C.W,’s and
/or his prolonged detention from Plaintiff's care, custody, and/or control. Defendants action caused a
134 ot of Plaintiffs Fourteenth Amendment due process rights.

34 Defendants, and each of them, maliciously violated and/or conspired to violate the civil rights of
Plaintiffs, including violation of Plaintiff’s rights found in the Fourteenth Amendment of the United States
Constitution, by, but not limited to, engaging in deception in the presentation of evidence that was
presented to the juvenile court, deliberately or recklessly presenting false and/or distorted statements
and/or omitting known exculpatory material evidence. Said acts were taken deliberately, with callous or
reckless indifference to the substantial rights of Plaintiffs, or fueled by an evil motive or intent.

135 As a direct and proximate consequence of the misconduct of defendants, plaintiff has suffered, and will
continue to suffer, damages, including but not limited to, physical and/or mental anxiety and anguish
according to proof at trial.

1136 Plaintiffs are therefore entitled to recover punitive damages from Defendants, and each of them, as
permitted by law and as according to proof at trial, due to the wrongful conduct of defendants as herein
alleged.

THIRD CLAIM FOR RELIEF COUNTS 1, 2, 3, and 4 Fourteenth Amendment — Procedural
Due Process--A parent has a liberty interest in familial association and therefore
a right to be free from misrepresentation of facts
in order to obtain the removal of a child from [his/her] parents.

137 Plaintiff realleged, and to the extent applicable, incorporates herein as if set forth in full, all
paragraphs above and all paragraphs below.

138 At all times relevant to this complaint, Defendants were acting under color of state law and had a duty
to honor Plaintiffs’ Constitutional Rights. Plaintiffs are informed and believe and thereon allege that when
a child is removed from a parents’ care, custody and control, the removal must not rely on the
misrepresentation of facts. Defendants. and each of them, had the affirmative and self-evident duty to be
truthful, accurate, and complete so that facts and events would not be misrepresented when removal of a
child from his parents’ custody is at stake. Misrepresenting the facts to justify removal of a child violates a
parent’s constitutional right to due process. A government agent or a Hospital Employee, or SCAN team
member who have the power to seize a child in an investigation, among other things, would have known
that this conduct violates Fourth Amendment rights of the child, and for Plaintiffs their Fourteenth
Amendment Due Process rights.

139 At all times relevant herein, there existed a clearly established due process right of individuals to be
free from the misrepresentation of facts in order to obtain the removal of a child from his parents. “No
matter how much process is required, at a minimum it requires that government officials not misrepresent
the facts in order to obtain the removal of a child from his parents.

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140 The Fourth Amendment protection against unreasonable searches and seizures extends [] and includes
conduct by social workers in the context of a child neglect/abuse investigation. Lenz v. Winburn (11th Cir,
5 1995). A social worker may not [seize a child] without a [court order] in absence of an emergency. Police
officers and social workers are not immune for coercing or forcing [a child seizure] to investigate suspected

6 child abuse, interrogation of a child, and strip search of a child. without a search warrant or special

7 exigency, Calabretta v Floyd (9"" Cir, 1999) 189 F. 3d 808, For purposes of the Fourth Amendment, a
"seizure" of a person is a situation in which a reasonable person would feel that he is not free to leave, and

8 also either actually yields to a show of authority from police or social workers or is physically touched by

§ police. Persons may not be "seized" without a court order. California v. Hobari D. (1991) 499 U.S. 621.

Police officer[s] and social worker[s] may not conduct a warrant-less seizure in a suspected abuse case,
10 absent exigent circumstances. Defendants must have reason to believe that life or limb is in immediate
jeopardy and that the intrusion is reasonably necessary to alleviate the threat. Good v. Dauphin County
Social Services (3rd Cir. 1989). Brokaw y. Mercer County (7" cir, 2000) 235 F.3d 1000, 1020; The courts

i2 have held that removing a child from the parent’s custody is reasonable if it is pursuant to a court order, if it
is supported by [reasonable cause], or if it is justified by exigent circumstances. The mere possibility of

13 danger does not constitute an emergency or exigent circumstance that would justify a forced warrantless

i4 entry and a warrantless seizure of a child. Hurlman vy, Rice (2nd Cir. 1991).

141 Wallis v Spencer [conclud{ed] that summary judgement was improper if a material question of fact

15 exists regarding if] [] (1) the information they possess at the time of the seizure [] provides reasonable

6 cause to believe that the child is in imminent danger of serious bodily injury and (2) that the scope of the
intrusion is reasonably necessary to avert that specific injury. (see also Tomason v SCAN Volunteer

17 Services,

18 1.42 In Snell, the Tenth Circuit observed that the touchstone of the Fourth [and Fourteenth] Amendment
is REASONABLENESS. 920 F.2d at 697. The question comes down to whether the defendant's actions
19 were objectively reasonable in light of the law and information the defendant possessed at the time of his
actions. Hollingsworth v. Hill, 110 F.3d 733, 737 (10th Cir. 1997).

” }2 The VIOLATION(s) were PROXIMATELY CAUSED by a PERSON UNDER COLOR

44 THIRD CLAIM OF RELIEF, COUNT |: By Plaintiffs against Defendants BROWN, TRUSCOTT,
22 SMITH, and DOES 1-100, Inclusive.
{L45 Plaintiffs are informed and thereon allege that defendants violated Plaintiffs’ right to be free from the
misrepresentation of facts in order to obtain the removal of a child from parents’ care, custody, and control.

14 The seizure was not court ordered, there was no [reasonable cause], and there was no exigency.
Reasonable avenues of investigation existed. C.W. was in the cancer ward of a hospital, and he received

25 intensive chemotherapy treatment where he stayed for another twenty-three days without his parents, under
%6 guard. The facts in the case of C.W. did not rise to the level of being an emergency. The seizure was

unreasonable and egregious. BROWN made substantial contributions to the unreasonable seizure. by
27 distorting, omitting, and misrepresenting facts in her reporting. TRUSCOTT relied on WEISTER’s SCAN
28

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team report to justify emergency action. *TRUSCOTT therefore took custody of C.W. in a seizure that
was not court order in — JUNE 2014 — when Defendants singularly and/or jointly acted, agreed, and/or
conspired by acting or failing to act with a deliberate or reckless disregard of plaintiff's constitutional rights,
and/or the constitutional deprivation occurred at defendant’ s direction or with knowledge or consent by, but
not limited to, misrepresenting the facts in order to obtain the removal of C.W. from his parents’ care,
custody, and control. And each of them, either singularly or jointly acted, and/or conspired, to use omissions,
distortions, and misrepresentations in an effort to remove C.W. from his parents. Defendants’ deceptive,
coercive, unconstitutional conduct caused the unreasonable seizure(s) of C.W. and his continued and
prolonged detention from Plaintiff's care, custody, and/or control. As a result, Plaintiffs’ Fourteenth
amendment due process rights were violated.

146 THIRD CLAIM OF RELIEF, COUNT 2: By Plaintiffs against Defendants BROWN, TRUSCOTT,
WEISTER, DEOCHOA, DOES 1-100, Inclusive. Plaintiffs are informed and thereon allege that
defendants violated Plaintiffs’ right to be free from the misrepresentation of facts in order to obtain the
removal of a child from parents’ care, custody, and control, The seizure was not court ordered, there was
no [reasonable cause], and there was no exigency. Plaintiffs had a single option and that was to sign a
Placement Order. One business day after it was signed, Plaintiffs revoked the order DEOCHOA coerced
Plaintiffs’ into signing in — JUNE 2014 and/or JULY 2014 — when they singularly and/or jointly acted,
agreed, and/or conspired by acting or failing to act with a deliberate or reckless disregard of plaintiff's
constitutional rights, and/or the constitutional deprivation occurred at defendant’s direction or with
knowledge or consent by, but not limited to, misrepresenting the facts in order to obtain the removal of
C.W. from his parents’ care, custody, and control.

147 THIRD CLAIM OF RELIEF, COUNT 3: By Plaintiffs against defendants BROWN, TRUSCOTT,
WEISTER, DOES 1-100, Inclusive. Plaintiffs are informed and thereon allege that defendants violated
Plaintiffs” right to be free from the misrepresentation of facts in order to obtain the removal of a child from
parents’ care, custody, and control. The seizure was not court ordered, there was no [reasonable cause],
and there was no exigency. The purpose of the hold was to support CPS in the ongoing detention of C.W.
CHOW issued a medical hold that was predetermined by BROWN and DOES 1-100 in - JUNE 2014
and/or JULY 2014 - when they singularly and/or jointly acted, agreed, and/or conspired by acting or
failing to act with a deliberate or reckless disregard of plaintiff's constitutional rights, and/or the
constitutional deprivation occurred at defendant’s direction or with knowledge or consent by, but not
limited to, misrepresenting the facts in order to obtain the removal of C.W. from his parents’ care, custody,
and control.

{L48 THIRD CLAIM OF RELIEF, COUNT 4: By Plaintiffs against Defendants BROWN, TRUSCOTT,

DEOCHOA, DOES 1-100, Inclusive. Plaintiffs are informed and thereon allege that defendants violated
Plaintiffs’ right to be free from the misrepresentation of facts in order to obtain the removal of a child from

> WEISTER’S opinions were based on biased, third party misrepresentations, distortions, and omissions that were provided to her by TRUSCOTT and BROWN.
{t appears that TRUSCOTT stopped by WEISTER's office after listening in on a forensics expert conduct a stellar interview with C.W. Following that interview,
TRUSCOTT gave her distorted take on that interview where C.W. was clear that nothing inappropriate had happened. WEISTER then used the information
provided by BROWN and TRUSCOTT to write her SCAN report which came to the conclusion that abuse had occurred and/or was likely to occur. WEISTER
then handed her report to TRUSCOTT. who used the SCAN report as part of her basis to take C, W. into custody in a seizure that was not court ordered. This is a
conflict of interest and should not happen in the context of an investigation.

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parents’ care, custody, and control. The seizure was not court ordered, there was no [reasonable cause],
and there was no exigency. Nurse Aliferakis, who fabricated the original report, impeached herself with
her own words © in an interview conducted by TRUSCOTT. TRUSCOTT ignored testimony of witnesses
and avoided key witnesses, including exculpatory evidence, when she manufactured her own evidence.
This was the same day TRUSCOTT became a main speaker in front of hospital staff and CPS Social
Workers on speaker phone, and misled everyone present in that meeting. TRUSCOTT detained C.W. a
second time without a court order, in— JUNE 2014 and/or JULY 2014 - Defendants singularly and/or
jointly acted, agreed, and/or conspired by acting or failing to act with a deliberate or reckless disregard of
plaintiff's constitutional rights, and/or the constitutional deprivation occurred at defendant’s direction or
with knowledge or consent by, but not limited to, misrepresenting the facts in order to obtain the removal
of C.W. from his parents’ care, custody, and control.

49 Each of them, either singularly or jointly acted, and/or conspired, to use omissions, distortions, and
misrepresentations in an effort to remove C.W. from his parents, Defendants’ deceptive, coercive,
unconstitutional conduct caused the unreasonable seizure(s) of C.W. and/or his continued and prolonged
detention from Plaintiff's care, custody, and/or control. As a result, Plaintiffs’ Fourteenth amendment due
process rights were violated.

=

150 Defendants, and each of them, maliciously violated and/or conspired to violate the civil rights of
Plaintiffs, including violation of Plaintiff’s rights found in the Fourteenth Amendment of the United States
Constitution, by, but not limited to, misrepresenting the facts in order to obtain the removal of C.W. from
his parents’ care, custody and control, Said acts were taken deliberately, with callous or reckless indifference
to the substantial rights of Plaintiffs, or fueled by an evil motive or intent.

51 As a direct and proximate consequence of the misconduct of defendants violating, plaintiff has
suffered, and will continue to suffer, damages, including but not limited to, physical and/or mental anxiety
and anguish according to proof at trial.

152 Plaintiffs are therefore entitled to recover punitive damages from defendants, and each of them, as
permitted by law and as according to proof at trial, due to the wrongful conduct of defendants as herein
alleged.

FOURTH CLAIM FOR RELIEF COUNTS 1, 2, 3, 4, 5, and 6
Fourteenth Amendment — Procedural Due Process
A parent has a liberty interest in familial association and therefore a
right to an adequate investigation and a pre-deprivation hearing
resulting in a [valid] court order prior to removal, absent exigent circumstances.

When asked if she actually saw C.W.'s buttocks, she responded ‘no".

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153 Plaintiff realleged, and to the extent applicable, incorporates herein as if set forth in full, all paragraphs
4 above, and below.
5 1154 At all times relevant to this complaint, Defendants were acting under color of state law had a duty to
Duty to honor Plaintiffs’ Constitutional Rights. Defendants, and each of them, had the affirmative and self-

evident duty provide Plaintiffs’ with [an adequate] investigation and a pre-deprivation hearing in the

7 juvenile court resulting in a [valid] court order, before C.W, was removed, absent exigent circumstances, -a
court with power to adjudicate substantial rights-, including legal and custodial rights of children and
parents. The FOURTEENTH Amendment due process clause guarantees that individuals be provided with
9 a [adequate] investigation and pre-deprivation hearing resulting in a [valid] court order before the child is
removed from his family unit, absent exigent circumstances.

10 155 At all times relevant herein, there existed a clearly established due process right to an [adequate]

11 investigation and a pre-deprivation hearing resulting in a [valid] court order, absent exigent circumstances,
before a child is removed. Minimally, [Due Process] [] means that government officials will not remove a

12 child from his home without an investigation and pre-deprivation hearing resulting in a court order of

13 removal, absent exigent circumstances. Hollingsworth v. Hill, 110 F.3d 733, 739 (10th Cir.1997)

(“Removal of children from the custody of their parents requires pre-deprivation notice and a hearing
14 except for extraordinary situations where some valid governmental interest is at stake that justified
postponing the hearing until after the event.”); Malik, 191 F.3d at 1315 (a parent has a liberty interest in

15 age Zs) : 3 :
familial association and privacy that-absent extraordinary circumstances-cannot be violated without

16 adequate pre-deprivation procedures).

i 156 A government agent has a duty to intercede when his or her fellow agents violate a person’s

constitutional rights. Cunningham y. Gates (9" Cir. 2000) 229 F.3d 1271, 1289. A supervisor’s action or
18 inaction in the training, supervision, or control of his or her subordinates may be sufficient to show a
constitutional violation. (Starr vy Baca (9" Cir, 2011) 652 F. 3d 1202, 1208.

|L57 The VIOLATION(s) were PROXIMATELY CAUSED by a PERSON UNDER COLOR

20 158 FOURTH CLAIM, COUNT 1: By plaintiffs against defendants TRUSCOTT, BROWN, SMITH, and
DOES 1-100, Inclusive. Plaintiffs are informed and thereon allege that defendants violated Plaintiffs’ right
to an [adequate] investigation and pre-deprivation hearing [resulting in a court order of removal], absent
22 exigent circumstances. Each of them were acting under color of state law when they singularly and/or
jointly acted, agreed, and/or conspired by acting or failing to act with a deliberate or reckless disregard of
plaintiff's constitutional rights, and/or the constitutional deprivation occurred at defendant's direction or
24 with knowledge or consent — in JUNE 2014- by, but not limited to, depriving plaintiffs of their right to an
adequate investigation and pre-deprivation hearing, to create a false narrative. which resulted in an

25 unreasonable seizure of C.W. Omissions, distortions, and misrepresentations were used to falsely create a

6 basis, when the investigation was far from adequate. Defendants avoided a pre-deprivation hearing
resulting in a [valid] court order of removal, absent exigent circumstances, using this deceptive tactic.

27 159 FOURTH CLAIM, COUNT 2: By plaintiffs against defendants BROWN, SMITH, TRUSCOTT, and

28 DEOCHOA and DOES 1-100, Inclusive. Plaintiffs are informed and thereon allege that defendants

violated Plaintiffs’ right to an [adequate] investigation and pre-deprivation hearing [], absent exigent
circumstances. Each of them were acting under color of state law when they singularly and/or jointly acted,
agreed, and/or conspired by acting or failing to act with a deliberate or reckless disregard of plaintiff's

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constitutional rights, and/or the constitutional deprivation occurred at defendant’ s direction or with
knowledge or consent — in JUNE 2014- by, but not limited to, depriving plaintiffs of their night to an
[adequate] investigation and pre-deprivation hearing, by presenting the unattractive option of a voluntary
placement agreement as the only option. C.W. was already in custody, The VPA was revoked one
business day later, which resulted in a medical hold issued by the hospital. The unreasonable seizure of
C.W. and the omissions, distortions and misrepresentations of TRUSCOTT and BROWN were the
instruments CPS used to coerce Plaintiffs’ and the moving force in removing C.W. from his family unit
without an investigation and pre-deprivation hearing resulting in a [valid] court order of removal, absent
exigent circumstances.

{L660 FOURTH CLAIM, COUNT 3: By plaintiffs against defendants BROWN, CHOW, TRUSCOTT,
SMITH, and WEISTER and DOES 1-100, Inclusive. Plaintiffs are informed and thereon allege that
defendants violated Plaintiffs’ right to an [adequate] investigation and pre-deprivation hearing [], absent
exigent circumstances, Each of them were acting under color of state law when they singularly and/or
jointly acted, agreed, and/or conspired by acting or failing to act with a deliberate or reckless disregard of
plaintiff's constitutional rights, and/or the constitutional deprivation occurred at defendant’s direction or
with knowledge or consent — in JUNE 2014 and/or JULY 2014- by, but not limited to, depriving plaintiffs
of their right to an [adequate] investigation and pre-deprivation hearing, by issuing an medical hold. C.W,
was already in custody. The custody of C.W. was transferred to Seattle Children’s Hosptial. and his
continued detainment from his family unit was done without an [adequate] investigation and pre-
deprivation hearing resulting in a court order of removal, absent exigent circumstances, The continued
detainment occured without regard to C.W.’s health and well-being, and was definitely not a decision

made by plaintiffs.

161 FOURTH CLAIM, COUNT 4: By plaintiffs against defendants TRUSCOTT, SMITH, BROWN and
DOES 1-100, Inclusive. Plaintiffs are informed and thereon allege that defendants violated Plaintiffs’ right
to an [adequate] investigation and pre-deprivation hearing [], absent exigent circumstances. Each of them
were acting under color of state law when they singularly and/or jointly acted, agreed, and/or conspired by
acting or failing to act with a deliberate or reckless disregard of plaintiff's constitutional rights, and/or the
constitutional deprivation occurred at defendant's direction or with knowledge or consent — in JUNE 2014
and/or JULY 2014 - by, but not limited to, depriving plaintiffs of their right to an adequate invewasstigation
and pre-deprivation hearing, by using omissions, distortions, and misrepresentations to justify police custody
without a court order to continue to detain C.W. and keep him from his family unit without an [adequate]
investigation and pre-deprivation hearing resulting in a court order of removal, absent exigent circumstances.

1162 FOURTH CLAIM, COUNT 5: By plaintiffs against defendants DEOCHOA, TRUSCOTT, SMITH,
BROWN, and DOES 1-100, Inclusive, Plaintiffs are informed and thereon allege that defendants violated
Plaintiffs’ right to an [adequate] investigation and pre-deprivation hearing resulting in a [valid] court order,
prior to removal, absent exigent circumstances. Each of them were acting under color of state law when they
singularly and/or jointly acted, agreed, and/or conspired by acting or failing to act with a deliberate or
reckless disregard of plaintiff's constitutional rights, and/or the constitutional deprivation occurred at
defendant’s direction or with knowledge or consent — in JULY 2014- by, but not limited to, using the
omissions distortions, and misrepresentations of BROWN and TRUSCOTT to deprive plaintiffs of their right
to an [adequate] investigation and pre-deprivation hearing, by removing C.W. from his family unit without

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an [adequate] investigation and pre-deprivation hearing resulting in a [valid] court order of removal, absent
exigent circumstances. C.W. was already in the hospital, The unreasonable seizure (s) of C.W. and the
omissions, distortions and misrepresentations of TRUSCOTT and BROWN were the instruments CPS used
to coerce Plaintiffs’.

1163 FOURTH CLAIM, COUNT 6: By plaintiffs against defendants DEOCHOA, TRUSCOTT, JANSEN,
BROWN, WEISTER, and DOES 1-100, Inclusive. Plaintiffs are informed and thereon allege that defendants
violated Plaintiffs’ right to an [adequate] investigation and pre-deprivation hearing resulting in a [valid] court
order, prior to removal, absent exigent circumstances. Each of them were acting under color of state law
when they singularly and/or jointly acted, agreed, and/or conspired by acting or failing to act with a deliberate
or reckless disregard of plaintiff's constitutional rights, and/or the constitutional deprivation occurred at
defendant’s direction or with knowledge or consent by, but not limited to, depriving plaintiffs of their right
to an [adequate] investigation and pre-deprivation hearing, by removing C.W. —in JANUARY 2016- from
his family unit without an [adequate] investigation, absent a pre-deprivation hearing resulting in a [valid]
court order of removal, and absent exigent circumstances. The court order was issued unwittingly by the
commissioner who was misled by the omissions, distortions, and misrepresentations of BROWN,
TRUSCOTT, WEISTER, JANSEN, and DEOCHOA. Avenues of investigations existed that would have
been easily available to DEOCHOA.

164 Defendants’ deceptive, coercive and unconstitutional conduct caused an unreasonable seizure of C.W.

and/or his continued and prolonged detention from Plaintiff's care, custody, and/or control. Defendants
conduct similarly caused the violation of Plaintiffs’ Fourteenth Amendment Due Process rights.

1L65 Defendants, and each of them, maliciously violated and/or conspired to violate the civil rights of
Plaintiffs, including violation of Plaintiff’s rights found in the Fourteenth Amendment of the United States
Constitution, by, but not limited to, removing C.W, from his family unit without an [adequate] investigation
and a pre-deprivation hearing resulting in a [valid] court order prior to removal of C.W., absent exigent
circumstances. Said acts were taken deliberately, with callous or reckless indifference to the substantial
rights of Plaintiffs, or fueled by an evil motive or intent.

1166 As a direct and proximate consequence of the misconduct of defendants violating, plaintiff has
suffered, and will continue to suffer, damages, including but not limited to, physical and/or mental anxiety
and anguish according to proof at trial.

167 Plaintiffs are therefore entitled to recover punitive damages from defendants, and each of them, as
permitted by law and as according to proof at trial, due to the wrongful conduct of defendants as herein
alleged.

FIFTH CLAIM FOR RELIEF Count I and 2 Fourteenth Amendment — Procedural Due Process
A parent has a liberty interest in familial association and therefore a right to
Notice and a hearing before a child is removed ‘except for extraordinary circumstances’
(including ‘emergency circumstances’ which pose an immediate threat to the safety of a child.)

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1168 Plaintiff realleged, and to the extent applicable, incorporates herein as if set forth in full, all paragraphs
above, and below.
5 169 At all times relevant to this complaint, Defendants were acting under color of state law and had a duty
‘ to honor Plaintiffs’ Constitutional Rights. Defendants, and each of them, had the affirmative duty, guaranteed

by the Due Process Clause of the Fourteenth amendment, to provide Plaintiffs with notice and a hearing in
7 the Juvenile Court, before their child, C.W. was removed from their care, “except for extraordinary
circumstances’ (including ‘emergency circumstances’ which pose an immediate threat to the safety of a

8 child.) — a court with power to adjudicate substantial rights, including legal and custodial rights of children
9 and parents.
170 At all times relevant herein, there existed a clearly established due process right of individuals to
10 notice and a hearing before a child is removed “‘except for extraordinary situations where some valid
11 governmental interest is at stake that justifies postponing the hearing until after the event.” Spielman v.
Hildebrand, 873 F.2d 1377, 1385 (10th Cir.1989) (quoting Smith y. Org. of Foster Families for Equal. &

12 Reform, 431 U.S. 816, 848, 97 S.Ct. 2094, 53 L.Ed.2d 14 (1977)) Parental rights cannot be denied without
13 an “opportunity for them to be heard at a meaningful time and in a meaningful manner.” Mathews v.

Eldridge, 424 U.S. 319, 333, 96 S.Ct. 893, 47 L.Ed.2d 18 (1976), “Valid governmental interests” include
14 “emergency circumstances which pose an immediate threat to the safety of a child.” Hollingsworth vy. Hill,
110 F.3d 733, 739 (10th Cir.1997).

1.71 As cited in Roska v. Peterson in the 10" Circuit Court of Appeals (2002), it was clearly established in
16 May 1999 that the Constitution prohibits warrantless, no-knock entries, warrantless seizures, and removal
of a child from the home without following proper procedures. (Special Needs Searches) Searches
conducted without a warrant are per se UNREASONABLE under the Fourth Amendment-subject only to a
18 few “specifically established and well-delineated exceptions.” Katz v. United States, 389 U.S. 347, 357,
88 S.Ct. 507, 19 L.Ed.2d 576, (1967) (footnotes omitted).

{L72 This insistence upon interposing a “neutral and detached magistrate” between the state and the

20 citizenry, subject to a few exceptions justified only by “exceptional circumstances,” Johnson v. United
States, 333 U.S. 10, 13-14, 68 S.Ct. 367, 92 L.Ed, 436 (1948), has become a “cardinal principle” of Fourth
Amendment jurisprudence. Mincey v, Arizona, 437 U.S. 385, 390. 98 S.Ct. 2408, 57 L.Ed.2d 290 (1978).

22 1173 This statute (U.S.C. §1983) is designed to protect individuals from an abuse of state power by
providing a cause of action against state and local officials, and those who conspire with them, who, acting

a within the scope of their duties, have deprived an individual of a cognizable federal right. See Baker v,

24 McCollan, 443 U.S. 137, 140, 99 S.Ct. 2689, 2692, 61 L.Ed.2d 433 (1979). As the Second Circuit has
noted, the “mere possibility” of danger is not enough to justify a removal without appropriate process.

25 Tenenbaum v. Williams, 193 F.3d 581, 594 (2d Cir.1999), The Fourteenth Amendment does not protect

6 against all deprivations of liberty, “only against deprivations of liberty accomplished “without due process
of law." Baker, 443 U.S. at 145, 99 S.Ct. at 2695, see also Kelson v. Springfield 767 F 2d 561; US Ct. App

27 9" Cir, 1985,

28 174 The VIOLATION(s) were PROXIMATELY CAUSED by a PERSON UNDER COLOR

175 FIFTH CLAIM, COUNT 1: By plaintiffs against defendants TRUSCOTT. SMITH, BROWN, and
DEOCHOA, Inclusive. Plaintiffs are informed and thereon allege that defendants violated Plaintiffs’ right

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to notice and a hearing before a child is removed ‘except for extraordinary circumstances’ (including
‘emergency circumstances’ which pose an immediate threat to the safety of a child.) Defendants were
acting under color of state law when -in JUNE 2014 and/or JULY 2014- they singularly and/or jointly
acted, agreed, and/or conspired by acting or failing to act with a deliberate or reckless disregard of
plaintiff's constitutional rights, and/or the constitutional deprivation occurred at defendant’ s direction or
with knowledge or consent by, but not limited to, depriving plaintiffs of their right to Notice and a hearing
before a child is removed ‘except for extraordinary circumstances’ (including ‘emergency circumstances’
which pose an immediate threat to the safety of a child.)

1176 FIFTH CLAIM, COUNT 2: By plaintiffs against defendants DEOCHOA, JANSEN, TRUSCOTT,

WEISTER, BROWN, DOES 1-100, Inclusive. Plaintiffs are informed and thereon allege that defendants
violated Plaintiffs’ right to notice and a hearing before a child is removed “except for extraordinary
circumstances’ (including ‘emergency circumstances’ which pose an immediate threat to the safety of a
child.) Each of them were acting under color of state law when they singularly and/or jointly acted, agreed,
and/or conspired by acting or failing to act with a deliberate or reckless disregard of plaintiff's
constitutional rights, and/or the constitutional deprivation occurred at defendant's direction or with
knowledge or consent by, but not limited to, depriving plaintiffs of their right to notice and a hearing
before C.W. was removed from their care— in JANUARY 2016 - there were NO extraordinary
circumstances” which might have excused defendants pre-deprivation conduct.

1.77 Each of them, either singularly or jointly acted, and/or conspired, to seize C.W, without providing

notice and an opportunity to be heard, where defendants knew that there was no emergency posing an
immediate threat to the safety of C.W. Defendants’ deceptive conduct caused an unreasonable seizure of
C.W. and his continued and prolonged detention from Plaintiff's care, custody, and/or control. This
conduct caused the violation of Plaintiffs’ Fourteenth Amendment Due Process rights.

1L78 Defendants, and each of them, maliciously violated and/or conspired to violate the civil rights of

Plaintiffs, including violation of Plaintiff's rights found in the Fourteenth Amendment of the United States
Constitution, by, but not limited to, depriving plaintiffs of their right to Notice and a hearing before child is
removed “except for extraordinary circumstances’ (including ‘emergency circumstances’ which pose an
immediate threat to the safety of a child. Said acts were taken deliberately, with callous or reckless
indifference to the substantial rights of Plaintiffs, or fueled by an evil motive or intent.

1179 As adirect and proximate consequence of the misconduct of defendants violating, plaintiff has

suffered, and will continue to suffer, damages, including but not limited to, physical and/or mental anxiety
and anguish according to proof at trial.

1.80 Plaintiffs are therefore entitled to recover punitive damages from defendants, and each of them, as

permitted by law and as according to proof at trial, due to the wrongful conduct of defendants as herein
alleged.

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SIXTH CLAIM FOR RELIEF COUNTS 1 and 2
Fourteenth Amendment — Procedural Due Process
A parent has a liberty interest in familial association and therefore a right to a prompt and
adequate post-deprivation Judicial review, in a child custody case to ratify emergency action.

(181 Plaintiff realleged, and to the extent applicable, incorporates herein as if set forth in full, all paragraphs
above. and below.

182 At all times relevant to this complaint, Defendants were acting under color of state law and had a duty
to honor Plaintiffs’ Constitutional Rights. Defendants, and each of them, had the affirmative and self-
evident duty to promptly provide an adequate post-deprivation judicial review to ratify emergency action
in the juvenile court — a court with power to adjudicate substantial rights, including legal and custodial
rights of children and parents. The FOURTEENTH Amendment due process clause guarantees that
individuals be provided a prompt and adequate judicial review to ratify emergency action.

(183 At all times relevant herein, there existed a clearly established due process right of individuals to a
prompt and adequate post deprivation review to ratify emergency action. Perhaps the facts as developed on
remand will demonstrate that a pre-deprivation hearing was not constitutionally required because emergency
action was required to avert imminent harm to [C.W]. Donald v. Polk County, 836 F.2d 376, 380 (7th
Cir.1988) (“In an emergency situation the government may take away liberty with post-deprivation
hearing.”). Nevertheless, “the constitutional requirements of notice and an opportunity to be heard are not
eliminated, but merely postponed.” Weller, 901 F.2d at 393 (internal quotations omitted). Thus, due process
guarantees that the post-deprivation judicial review of a child's removal be prompt and fair. See, e-g.,
Campbell y. Burt, 141 F.3d 927, 929 (9th Cir.1998) (procedural due process guarantees prompt and adequate
post-deprivation judicial review in child custody case); Jordan by Jordan, 15 F.3d at 343. It is well settled;
the requirements of process may be delayed where emergency action is necessary to avert imminent harm to
achild provided that adequate post-deprivation process to RATIFY THE EMERGENCY action is promptly
accorded.”).

184 SIXTH CLAIM OF RELIEF, COUNT 1: By plaintiff's against defendants POTTS, and DOES 1-100,
Inclusive. Plaintiffs are informed and thereon allege that defendants violated Plaintiffs’ right to a prompt
and adequate post-deprivation judicial review in a child custody case to ratify the emergency action, Each
of them were acting under color of state law when they singularly and/or jointly acted, agreed, and/or
conspired by acting or failing to act with a deliberate or reckless disregard of plaintiff's constitutional
rights, or the constitutional deprivation occurred at defendant’s direction or with knowledge or consent, —
in JANUARY 2016 through JUNE 2016 - by, but not limited to, using deceptive and coercive means to
deprive Plaintiffs’ of their constitutional rights, thereby failing to provide Plaintiffs with a prompt and
adequate post-deprivation judicial review in a child custody case to RATIFY THE EMERGENCY action.

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185 This unconstitutional conduct caused the unreasonable continued and prolonged detention of C.W.
from Plaintiff's care, custody, and/or control and violated Plaintiffs’ Fourteenth Amendment due process
rights.

(L86 Defendants, and each of them, maliciously violated and/or conspired to violate the civil rights of
Plaintiffs, including violation of Plaintiff's rights found in the Fourteenth Amendment of the United States
Constitution, by, but not limited to, depriving plaintiffs of their right to a prompt and adequate post-
deprivation judicial review to ratify emergency action. Said acts were taken deliberately, with callous or
reckless indifference to the substantial rights of Plaintiffs, or fueled by an evil motive or intent.

1187 As a direct and proximate consequence of this violation, Plaintiff has suffered, and will continue to
suffer, damages, including but not limited to. physical and/or mental anxiety and anguish according to proof
at trial,

188 Defendants acted intentionally and/or with a conscious disregard for Plaintiffs’ constitutional rights. As
a result of this conduct, Plaintiffs are entitled to recover punitive damages against these individual

SEVENTH CLAIM FOR RELIEF; COUNT 1
Fourteenth Amendment — Procedural Due Process and/or the First Amendment. A parent has a
liberty interest in familial association and therefore a right to be free from the deliberate
suppression of evidence that would have impeached and refuted the testimony given against
him/her, In addition, a parent has a right not to be framed under the due process clause of the
14'" amendment, a right to freedom of speech, a right not to be coerced, and a right to [not]
petition the government for the redress of grievances under the 1% Amendment.

defendants.

189 Plaintiff realleged, and to the extent applicable, incorporates herein as if set forth in full, all paragraphs
above, and below.

190 At all times relevant to this complaint, Defendants were acting under color of state law and had a duty
to honor Plaintiffs’ Constitutional Rights. Defendants, and each of them, had the affirmative and self-evident
duty to provide the juvenile court with materially exculpatory evidence — a court with power to adjudicate
substantial rights, including legal and custodial rights of children and parents. Similarly, defendants had an
equal DUTY TO REFRAIN from deliberately suppressing evidence that would have impeached and refuted
the testimony given against [Plaintiffs] whose rights were being violated. The Fourteenth Amendment due
process clause guarantees that individuals be from the deliberate suppression of evidence that would have
impeached and refuted the testimony given against him/her.

191 At all times relevant herein, there existed a clearly established due process right of individuals to be free
of the deliberate suppression of evidence that would have impeached and refuted the testimony given against
him. See Pyle, 317 U.S. at 216, 63 S.Ct. at 178; Mooney, 294 U.S. at 110, 55 S.Ct. at 341, The Third Circuit
in the Baldi case construed that statement in Pyle y, Kansas to mean that the ‘suppression of evidence

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favorable’ to the accused was itself sufficient to amount to a denial of due process. 195 F.2d, at 820. In
Napue v. Illinois, 360 U.S. 264, 269, 79 S.Ct. 1173, 3 L.Ed.2d 1217. Omission of information that implicates
a witness’credibility is material. United States v. Reeves (9" Cir, 2000) 210 F.3d 1041, 1045; Bettin v,
Maricopa County (d. Ariz. 2007) 2007 U.S. Distr LEXIS 42979, *46; United States v. Hill (N.D. Cal. 2014)
2014 U.S.*24.

192 A government agent has a duty to intercede when his or her fellow agents violate a person’s constitutional
rights, Cunningham vy. Gates (9"" Cir. 2000) 229 F.3d 1271, 1289. A supervisor’s action or inaction in the
training, supervision, or control of his or her subordinates may be sufficient to show a constitutional
violation. (Starr y Baca (9"" Cir. 2011) 652 F. 3d 1202, 1208.

193 The VIOLATION(s) were PROXIMATELY CAUSED by a PERSON UNDER COLOR

1194 SEVENTH CLAIM OF RELIEF, COUNT 1: By Plaintiffs against the following defendants acting under
color of state law; LUND, GOURLEY, and DOES 1-100, Inclusive. Plaintiffs are informed and thereon
allege that defendants violated Plaintiffs’ right to be free of the deliberate suppression of evidence that would
have impeached and refuted the testimony given against them. Each of them were acting under color of state
law when they singularly and/or jointly acted, agreed, and/or conspired by acting or failing to act with a
deliberate or reckless disregard of plaintiff's constitutional rights, or the constitutional deprivation occurred
at defendant’ s direction or with knowledge or consent, — in MARCH 2016 through JUNE 2016 - by, but not
limited to, deliberately suppressing evidence that would have impeached and refuted the testimony given
against Plaintiffs. Instead, Defendants, and each of them demanded that Plaintiffs’ secure a protection order
in order to regain custody of their son, knowing that no evidence existed that would justify a protection order
against John. Defendants used the requirement for a protection order as a means to coerce Plaintiffs into
doing something that they would not have otherwise been legally obligated to do, and would not have done.
Defendants ulterior purpose or motive underlying the abuse of process was to coerce Plaintiffs into providing
evidence in the form of a protection order sought by plaintiffs against John Hudspeth. The requirement for a
protection order was not proper and defendants knew that exculpatory evidence existed, yet made the
deliberate decision not to disclose. Defendants knew that there was a lack of probable cause. The protection
order was ultimately terminated by a Superior Court Judge in favor of Plaintiffs, This unconstitutional
conduct by defendants caused the unreasonable continued detention and prolonged detention of C.W. from
Plaintiff's care, custody, and/or control.

195 Each of them, had the affirmative and self-evident provide the juvenile court with materially relevant
exculpatory evidence, a court with power to adjudicate substantial rights, including legal and custodial rights
of children and parents, Defendants conduct influenced the Juvenile Court, impairing, and/or impinging
upon Plaintiffs post-deprivation due process rights.

1196 Defendants, and each of them, maliciously violated and/or conspired to violate the civil rights of
Plaintiffs, including violation of Plaintiff's rights found in the Fourteenth Amendment of the United States
Constitution, by, but not limited to, suppression of exculpatory evidence that would have impeached and
refuted the testimony that was given against them. Said acts were taken deliberately, with callous or reckless
indifference to the substantial rights of Plaintiffs, or fueled by an evil motive or intent.

po As a direct and proximate consequence of this violation, Plaintiff has suffered, and will continue to

suffer, damages, including but not limited to, physical and/or mental anxiety and anguish according to proof
at trial.

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98 Defendants acted intentionally and/or with a conscious disregard for Plaintiffs” constitutional rights. As
a result of this conduct, Plaintiffs are entitled to recover punitive damages against these individual
defendants.

EIGHTH CLAIM FOR RELIEF
42 U.S.C §1985 Claim
Violation of U.S.C. §1985 by Plaintiff against DEFENDANTS, Inclusive.

199 Plaintiffs reallege, and to the extent applicable, incorporates by reference, all paragraphs above, and
below.

200 A government agent has a duty to intercede when his or her fellow agents violate a person’s
constitutional rights. Cunningham v. Gates (9" Cir. 2000) 229 F.3d 1271, 1289. A supervisor’s action or
inaction in the training, supervision, or control of his or her subordinates may be sufficient to show a
constitutional violation. (Starr v Baca (9" Cir. 2011) 652 F. 3d 1202, 1208.

201 DEFENDANTS, inclusive, conspired to and did, remove the minor C.W. from PLAINTIFF's care,
without notice or a full hearing. Further, DEFENDANTS and, inclusive, conspired to use and did use
unconstitutional tactics including but not limited to trickery, duress and/or presentation of fabrication of
evidence, false or distorted statements, and suppression of exculpatory evidence, in preparing and/or
presenting reports and documents to the Court. These actions interfered with Plaintiff's rights, including
those under the United States Constitution.

202 Defendants, and each of them, engaged in said conspiracies for the purpose of depriving PLAINTIFF
of equal protection of the laws of the United States. And each of them took several acts in furtherance of
the conspiracy. including but not limited to: unlawfully removing and detaining minor C,W. from the care
of his mother and father, without a valid court order, consent, or exigent circumstances (imminant danger
was undermined by misrepresentation of fact, and a failure to investigate); denied Plaintiffs their right to
notice and an opportunity to be heard prior to said detention, continuing to detain C.W. for an unreasonable
period after any alleged basis for removal: denied PLAINTIFFS their right to notice and an opportunity to
be heard in a reasonable time after the detention; continued to detain minor Plaintiff C.W. for an
unreasonable period after receiving material information from a key witness; In addition, DEFENDANTS,
and each of the, conspired to use trickery, duress, presentation of fabricated and/or false evidence,
misrepresentations of fact, and failure to disclose exculpatory evidence to the Court. The conduct of
DEFENDANTS and each of them, interfered with Plaintiffs’ rights, including the right to familial
association free from government interference as guaranteed by the Fourteenth Amendment of the
Constitution of the United States.

203 Plaintiffs Rachelle and Duane did, in fact, suffer the deprivation of numerous rights granted to citizens
of the United States, including those under the Due Process Clause of the Fourteenth Amendment, which
has been interpreted to protect the fundamental liberty interest in familial relations.

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3

po DEFENDANTS, and each of them, acted with malice and with the intent to cause injury to Plaintiffs or
3 acted with a willful and conscious disregard of the rights of Plaintiffs in a despicable, vile, and
5 contemptible manner. Therefore, Plaintiffs are entitled to an award of punitive damages for the purpose of

punishing said Defendants and to deter them and others from such conduct in the future.
6
; NINTH CLAIM NINTH CLAIM FOR RELIEF — MONELL RELATED CLAIMS FOR UNWARRANTED
g SEIZURES BY BENTON COUNTY
(By Plaintiff Agains! BENTON COUNTY COMMUNITY PROTECTION TEAM DEFENDANTS, and

9 POTTS, LUND, DEOCHOA, GOURLEY, WEISTER and DOES 1-100)
3 1 Plaintiff realleges, and to the extent applicable, incorporates herein as if set forth in full, all paragraphs
11 above, and below.

12 205 Monell v, Department of Social Services, 436 U.S. 658 (1978), is an opinion given by the United States
Supreme Court in which the Court overruled Monroe v. Pape in holding that a local government is a

13 "person" subject to suit under Section $1983 of Title 42 of the United States Code: Civil action for
deprivation of rights. Additionally, the Court held that §1983 claims against municipal entities must be
based on implementation of a policy or custom. The United States Supreme Court held that a local

15 government is a "person" that can be sued under Section $1983 of Title 42 of the United States Code: civil
action for deprivation of rights. The Court, however, required that a §1983 claim against a municipal entity

if be based on the implementation or execution of a "a policy statement, ordinance, regulation, or decision

17 officially adopted and promulgated by that party's officers". Additionally, the Court held that municipal
entities "may be sued for constitutional deprivations visited pursuant to governmental ‘custom’ even though

18 such a custom has not received formal approval through the body's official decision making channels".

19 There is no immunity for municipalities/entities targeted by Monell claims. Leatherman v. Tarrant County
Narcotics Intelligence & Coordination Unit, 507 U.S. 163, 166-167 (1993); Joyce v Town of Tewksbury,

20 112 F.3d 19, 23 (1% Cir. 1997); Kirkpatrick v. Cnty. Of Washoe 843 F3d 784, 793 (9" Cir, 2016). While

a no specific formula for defining State action exists, courts have traditionally evaluated whether a private

actor has engaged in state action by relying on four distinct — but not mutually exclusive — tests: (1) the
22 governmental nexus test, (2) the joint action test, (3) the public function test, and (4) the state compulsion
test. ’ A private hospital acts “under color” of state law when it expressly contracts with the government to

23 provide medical services. * Likewise, contract services provided by “licensed private physicians” to

24 municipal governments in the examination of person brought to treatment facilities by government officials
constitutes state action within the meaning of Section 1983.? Just as in United States v, Wiseman, supra,

25 445 F.2d at 796, Sugarman v Perez 2™ circuit (1974) “directly involves defendants’ mode of conducting the

26

27

28

| Howereton, supra, 708 F.2d 380 at 382-282.
® Lopez v. Dep’t of Health Services, 939 F.2d 991, 883 (9"" Cir. 1991)

° Jensen v. Land County, 222 F.3d 570, 575 (9" Cir. 2000); Elam v. Herandez. 2011 U.S. Dist. LEXIS 77104, “10-11 (C.D. Cal. 2011),

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public function and does not involve a collateral aspect of" the business of operating an institution which
cares for children, The existence of this nexus has made the courts more receptive to a finding of "state
action." See, e. g., id. at 796, Bystanders are not immune from suit. A government agent has a duty to
intercede when his or her fellow agents violate a person's constitutional rights. Cunningham v. Gates (9"
Cir. 2000) 229 F.3d 1271, 1289. A supervisor’s action or inaction in the training, supervision, or control of
his or her subordinates may be sufficient to show a constitutional violation. (Starr v Baca (9" Cir. 2011)
652 F. 3d 1202, 1208.)

206 Monell applies to suits against private entities under § 1983. Tsao v. Desert Palace Inc.,698 F.3d 1128,
113801139 (9" Cir. 2012). '°

2 Plaintiffs bring this action on their own behalf to recover damages arising from BENTON COUNTY
PROTECTION TEAM DEFENDANTS and DOES 1-100 violation of Plaintiffs’ right to continued
care, custody, and control of C.W. arising under the First and Fourteenth Amendments to the United
States Constitution. Plaintiff does not bring this action on behalf of C.W., or to recover any damages for
constitutional injuries inflicted on C.W., whose rights arising under the Fourth Amendment to the United
States Constitution are not implicated in this action.

3 BENTON COUNTY PROTECTION TEAM DEFENDANTS and DOES 1-100 had a duty to
implement and follow policies, procedures, customs and/or practices which confirm and provide the
protections guaranteed under the United States Constitution. BENTON COUNTY PROTECTION
TEAM DEFENDANTS and DOES 1-100 had a duty to use reasonable care to train, supervise, and/or
control its agents, so as to protect these constitutional rights.

4 Based on the duties charged to law enforcement officers and state social workers under State and
Federal laws, and, including the powers to seize children from their parents’ custody, BENTON
COUNTY PROTECTION TEAM DEFENDANTS and DOES 1-100 knew or should have known of
the need to establish the customs, policies, and/or procedures required to protect the civil rights of
parents and children with whom their agents regularly came into contact, and of the need to adequately
train its law enforcement officers and Children’s Administration Social Workers. At the time of the
underlying events, the BENTON COUNTY PROTECTION TEAM DEFENDANTS and DOES 1-
100 actions relating to the removal of a child from its parents custody included, but were not limited to:
A. The custom of removing a child from his parents’ custody without first conducting a reasonably
adequate investigation and providing a pre-deprivation hearing resulting in a court order, absent exigent
circumstances.

'0 “As the district court correctly found, insofar as the Hospital was acting in the latter capacity — as part of the reporting and enforcement machinery
for CWA, a government agency charged with detection and prevention of child abuse and neglect — the Hospital was a state actor.” “[C]onduct that
is formally ‘private’ may become so entwined with governmental policies or so impregnated with a governmental character as to become subject to
the constitutional limitations placed upon state action . . . In certain instances the actions of private entities may be considered to be infused with
state action’ if those private parties are performing a function public or govermmental in nature and which would have to be performed by the
Government but for the activities of the private parties. Perez v. Sugarman, 499 F2d 761, 764-65 (2d Cir, 1974)(quoting Evans v. Newton, 382 U.S.
296, 299 (1966)" Mora P. v. Rosemary Mcintyre, (Case No.: 98-9595) 2nd Cir (1999).

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B. The custom of removing a child from his parents’ care, custody, and control, without providing notice
4 and an opportunity to be heard prior to the removal, absent exigent circumstances (i.¢., imminent danger
of serious bodily injury).

: C. The custom of continuing to detain a child from his parents’ custody without providing prompt and
6 adequate judicial review to ratify emergency action in a child custody case.
D. The custom of suppressing exculpatory evidence that would refute the testimony given against the
¥ accused.
8 E. The custom of seizing children from his or her parent’s custody by misrepresenting the facts in order
to obtain a court order, without a true exigency, based on a hope that further investigation could turn up
9 facts suggesting the seizure was justified.
10 F. The custom to not intercede in and/or prevent the removal of a child from his or her parent’s custody
when the court order was based on misrepresentations of evidence, without a true exigency.
11 G. The custom of holding a child ransom in exchange for successfully putting a protection order into
2 place, even when the facts do not support additional need for protection.
5 DEOCHOA and LUND were acting pursuant to and in accordance with BENTON COUNTY
13 PROTECTION TEAM DEFENDANTS and DOES 1-100 child removal customs.
i4 6 BENTON COUNTY PROTECTION TEAM DEFENDANTS and DOES 1-100ratified and/or
approved of C.W.’s unreasonable seizure.
15

7 BENTON COUNTY PROTECTION TEAM DEFENDANTS and DOES 1-100failed to train its
16 government officials on the constitutional rights of a parent and child, including but not limited to:
A. That a government official cannot obtain a court order to remove a child from his parents’

17 custody by omitting. misrepresenting and distorting events, based on the hope that parents will be
18 coerced into providing support for government officials’ unconstitutional actions.
B. That a government official cannot remove a child from their parents’ custody without first
19 performing a reasonably adequate investigation.
a C, That parents must be provided with an opportunity to be heard at a meaningful time in a

meaningful manner, and required prior to removing a child from his parents, absent exigent
21 circumstances,
D. The fact that parents have a right to notice and a hearing, resulting in a [valid] court order to the

22 remove the child, absent exigent circumstances.

23 E. The fact that when used without sufficient REASON and/or with questionable empirical support,
coercive interventions may lead to harmful and/or unjust consequences for the parent and child.

24 F. The fact that parents have a right to a prompt and adequate post-deprivation judicial review to

95 ratify the action, in a child custody case if exigent circumstances, in fact. existed.
G. That suppression of exculpatory evidence that would refute the testimony given against the

26 accused, is a violation of a persons’ constitutional rights.

3 H. The fact that misrepresenting the facts in order to obtain a court order violates parental rights.

BENTON County’s failure to train its law enforcement offices and/or DSHS, DCYF, DCFS, CA,
28 CPS, CWS, Social Workers on these established constitutional rights was a substantial factor in
causing Plaintiffs’ harm. Without adequate training, DETECTIVE JANSEN, SOCIAL WORKER

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DEOCHOA and SOCIAL WORKER LUND, infringed upon Plaintiffs’ First and Fourteenth
Amendment Rights.

8 BENTON COUNTY PROTECTION TEAM DEFENDANTS and DOES 1-100, inclusive, failure to
train is agents and/or agents on these established constitutional rights was a substantial factor in causing
Plaintiffs’ harm, Without adequate training, DEOCHOA, LUND and DOES 1-100 were unfamiliar with
and oblivious to Plaintiffs’ constitutional rights, when they seized C.W. without consent, court order,
and/or exigency.

9 These actions, and/or inactions, of BENTON COUNTY PROTECTION TEAM DEFENDANTS and
DOES 1-100, were the moving force behind the plaintiffs’ injuries, as alleged herein; and as a result,
Plaintiffs have sustained general and special damages, in an amount to be proven at trial.

10 (This list is not exhaustive due to the pending nature of discovery and the privileged and protected

records of investigative and juvenile dependency type proceedings. Plaintiff may seek leave to amend
this pleading as more information becomes ayailable.)

MONELL RELATED CLAIMS FOR UNWARRANTED SEIZURE and on-going detention
leading to the VIOLATION OF FOURTEENTH AMENDMENT RIGHT of FAMILY
ASSOCIATION
(By Plaintiff Rachelle and Duane Ward Against KING COUNTY COMMUNITY
PROTECTION TEAM, and Defendants TRUSCOTT, BROWN, WEISTER, SMITH,
DEOCHOA, CHOW, DOES 1-100)

11 Plaintiff realleges each of the preceding paragraphs, and to the extent applicable, incorporates each of
them herein as if set forth in full.

12 Plaintiff brings this action on her own behalf to recover damages arising from KING COUNTY
COMMUNITY PROTECTION TEAM and DOES 1-100 violation of Plaintiffs’ right to continued care,
custody, and control of C.W. arising under the First and Fourteenth Amendments to the United States
Constitution. Plaintiff does not bring this action on behalf of C.W., or to recover any damages for
constitutional injuries inflicted on C.W., whose rights arising under the Fourth Amendment to the United
States Constitution are not implicated in this action.

13 KING COUNTY COMMUNITY PROTECTION TEAM and DOES 1-100, are “persons” within the

meaning of 42 U.S.C. §1983 and subject to Monell liability. Monell v. Dept. of Social Services (1978)
436 U.S. 658.

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14 Monell applies to suits against private entities under § 1983. Tsao v. Desert Palace Inc.,698 F.3d 1128,
113801139 (9" Cir. 2012). "

15 KING COUNTY COMMUNITY PROTECTION TEAM and DOES 1-100, and each of them, acted
under color of state law when committing the acts alleged herein, in violation of Plaintiff's rights.

16 KING COUNTY COMMUNITY PROTECTION TEAM and DOES 1-100, and those individuals in
their official capacity who had supervisory and/or policy making authority, had a duty to Plaintiff to
establish, implement and follow policies, procedures, customs and/or practices which confirm and
provide the protections guaranteed Plaintiff under the United States Constitution, including those under
the First and Fourteenth Amendments. This includes, without limitation, the protection of the right to
familial relations; the right to privacy; and the rights to substantive and procedural due process.

17 KING COUNTY COMMUNITY PROTECTION TEAM and DOES 1-100 also had a duty to use
reasonable care to select, assign. supervise, train, control and review the activities of all their agents,
officers, employees and those acting under them, so as to protect these constitutional rights; and to
refrain from acting with deliberate indifference to the constitutional rights of Plaintiff in order to avoid
causing the injuries and damages alleged herein. Moreover, based on the duties charged to the KING
COUNTY COMMUNITY PROTECTION TEAM, including the powers to seize children from their
parents’ care. KING COUNTY COMMUNITY PROTECTION TEAM and DOES 1-100 and
policymaking officials knew or should have known of the need to establish customs, policies, and/or
practices required to protect the aforementioned civil rights of parents and their children with whom their
agents regularly came into contact — and to adequately train and supervise its employees, representatives,
and/or actors on constitutionally appropriate policies and practices.

18 KING COUNTY COMMUNITY PROTECTION TEAM and DOES 1-100 established, adopted,
followed, implemented, and/or turned a blind eye to policies, procedures, customs and/or practices
carried out by BROWN, TRUSCOTT, SMITH, CHOW, DEOCHOA, AND DOES 1-100, when they
violated Plaintiff's constitutional rights by seizing C.W. from Plaintiff's care and custody without first
obtaining a court order where C.W. was in no danger of suffering severe bodily injury or death. In
addition, KING COUNTY COMMUNITY PROTECTION TEAM and DOES 1-100 established,
adopted, followed, implemented and/or turned a blind eye to policies, procedures, customs and/or
practices which were followed, complied with, and carried out by BROWN, TRUSCOTT, SMITH,
CHOW, DEOCHOA, and DOES 1-100. When it was known that there was no basis to do so, they
violated Plaintiff’ s constitutional rights by continuing to detain C.W. from Plaintiff's custody. At the
time of the underlying events, the regularly established customs the Protection Team that were followed,
adhered to, complied with, and carried out by BROWN, TRUSCOTT, SMITH, CHOW, DEOCHOA,

'l “As the district court correctly found, insofar as the Hospital was acting in the latter capacity — as part of the reporting and enforcement machinery
for CWA, a government agency charged with detection and prevention of child abuse and neglect — the Hospital was a state actor." “[C]onduct that
is formally ‘private’ may become so entwined with governmental policies or so impregnated with a governmental character as to become subject to
the constitutional limitations placed upon state action .. . In certain instances the actions of private entities may be considered to be infused with
state action’ if those private parties are performing a function public or governmental in nature and which would have to be performed by the
‘Government but for the activities of the private parties. Perez v, Sugarman, 499 F2d 761, 764-65 (2d Cir. 1974)(quoting Evans v. Newton, 382 US.
296, 299 (1966)" Mora P. v. Rosemary McIntyre, (Case No.: 98-9595) 2nd Cir (1999),

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and DOES 1-100, and each of them, were the moving force, that is, the actual, direct, and proximate
cause of the violations of Plaintiff's constitutional rights include, but not limited to:

a. The policy, custom, or practice of detaining children from the custody of their parents in the absence of
exigent circumstances (immediate danger of serious bodily injury), without first obtaining a court order.
b. The policy, custom, or practice of removing children from their family without first performing a
reasonable investigation into allegations of abuse, or investigating only after the unwarranted seizure is fait
accompli.

c. The policy, custom, or practice of removing children from their parent’s custody absent exigent
circumstances, without a court order. based on a hope that further investigation could turn up facts
suggesting the seizure was justified.

d. The policy, custom, or practice of removing children from their parent’s custody absent exigent
circumstances, without a court order, based purely on speculation that harm might occur at some point in
the future.

e. The policy, custom, or practice of seizing a child from the custody of its parents — without judicial
authorization after having allowed the child to remain in his or her parents’ care for days, after any
purported danger was first brought to the attention of KING COUNTY COMMUNITY PROTECTION
TEAM and DOES 1-100.

f. The policy, custom, or practice of removing a child from the custody of its parent(s) — without judicial
authorization - while the child was a patient at a hospital or other similar medical facility.

g. The policy, custom, or practice of making a predetermination to issue a “Medical Hold” if a VPA is
revoked by parents. without informing parents of the consequences of signing and revoking the agreement.

19 (This list is not exhaustive due to the pending nature of discovery and the privileged and protected
records of investigative and juvenile dependency type proceedings. Plaintiff may seek leave to amend
this pleading as more information becomes available.)

20 These actions, and/or inactions, of KING COUNTY COMMUNITY PROTECTION TEAM and
DOES 1-100 were the moving force behind, and direct and proximate cause of Plaintiff's injuries. As a
result, Plaintiff has sustained general and special damages, to an extent and in an amount to be proven at trial.
PRAYER

WHEREFORE, Plaintiff prays for judgement against DEFENDANTS as follows:

|. Plaintiffs demand a jury trial as to the issues so triable;

2. General damages and special damages according to proof, but in no event less than $2,000,000;

3. Punitive damages as allowed by law, against the individual defendants only and not against any

municipal defendant;

4. Attorneys fees pursuant to 42 U.S.C. §1988, and any other appropriate statute;

5. Injunctive relief, both preliminary and permanent, as allowed by law;

6. Costs of suit incurred herein;

7. Such further relief as allowed by law; and

8. Such further relief as the Court deems just and proper.

Dated: April 18, 2019 Duan had “| Aohtit

Duane Ward and Rachelle Ward, Plaintiffs

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